Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 1 of 181




            EXHIBIT G
             Part 1 of 2
                     Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 2 of 181
                     UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                                    UNITED STATES DEPARTMENT OF COMMERCE
                                                                                    United States Patent and Trademark Office
                                                                                    Address: COMMISSIONER FOR PATENTS
                                                                                           P.O. Box 1450
                                                                                           Alexandria, Virginia 22313-1450
                                                                                           www .uspto.gov


      APPLICATION NO.             ISSUE DATE             PATENT NO.          ATTORNEY DOCKET NO.                  CONFIRMATION NO.

          15/016,662              05/01/2018               9959023                083523.0117                                9869

            5073          7590        04/11/2018
        BAKER BOTTS L.L.P.
        2001 ROSS AVENUE
        SUITE 700
        DALLAS, TX 75201-2980



                                                   ISSUE NOTIFICATION

The projected patent number and issue date are specified above.

                          Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                      (application filed on or after May 29, 2000)

The Patent Term Adjustment is 0 day(s). Any patent to issue from the above-identified application will include
an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information
Retrieval (PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the
Office of Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee
payments should be directed to the Application Assistance Unit (AAU) of the Office of Data Management
(ODM) at (571)-272-4200.

APPLICANT(s) (Please see PAIR WEB site http://pair.uspto.gov for additional applicants):
Sean Rad, Los Angeles, CA;
Tinder, Inc., West Hollywood, CA;
Jonathan Badeen, North Hollywood, CA;




The United States represents the largest, most dynamic marketplace in the world and is an unparalleled location
for business investment, innovation, and commercialization of new technologies. The USA offers tremendous
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IR103 (Rev. 10/09)
                         Case 6:21-cv-00147-ADA  Document
                                              PART            15-11 Filed 04/22/21 Page 3 of 181
                                                   B - FEE(S) TRANSMITTAL
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                  or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                              Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                              Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)               papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmission.

                                                                                                                         Certificate of Mailing or Transmission
         5073             7590               02/27/2018                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    BAKER BOTTS L.L.P.                                                                               States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    2001 ROSS AVENUE                                                                                 transmitted to the USPTO (571) 273-2885, on the date indicated below.
    SUITE 700
                                                                                                                                                                           (Depositor's name)
    DALLAS, TX 75201-2980
                                                                                                                                                                                  (Signature)

                                                                                                                                                                                       (Date)




    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                                 ATTORNEY DOCKET NO.             CONFIRMATION NO.

        15/016,662                   02/05/2016                                      Sean Rad                                           083523.0117                      9869
TITLE OF INVENTION: Matching Process System And Method


     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE         PUBLICATION FEE DUE          PREV. PAID ISSUE FEE           TOTAL FEE(S) DUE               DATEDUE

    nonprovisional         UNDISCOUNTED                     $1000                        $0                          $0                           $1000                 05/29/2018



                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

                CHOI, YUK TING                               2153                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).                                                                                                                                   1
                                                                                                                                                  Baker Botts L.L.P.
                                                                                ( 1) The names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/SB/122) attached.
                                                                                (2) The name of a single firm (having as a member a
   0 "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is
   Number is required.                                                          listed, no name will be printed.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)

   Match.Com, L.L.C.                                                                Dallas, Texas

Please check the appropriate assignee category or categories (will not be printed on the patent) :    0 Individual es.J Corporation or other private group entity 0 Government
4a. The following fee(s) are submitted:                                   4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   es.J Issue Fee                                                            0 A check is enclosed.
   0 Publication Fee (No small entity discount permitted)                    0 Payment by credit card. Form PT0-2038 is attached.
   0 Advance Order - #of Copies _ _ _ _ _ _ _ _ __                           ~The director is hereby authorized to charge \)12 r5~14d fee( s), any deficiency, or credits any
                                                                                overpayment, to Deposit Account Number              -               (enclose an extra copy of this form).


5. Change in Entity Status (from status indicated above)
   0 Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
                                                                             fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
   0 Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                             to be a notification of loss of entitlement to micro entity status.
   0 Applicant changing to regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                             entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31and1.33. See 37 CFR 1.4 for signature requirements and certifications.

                          /Chad
   Authorized Signature _ _ ___ C._Walters/
                                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        Date _ _M_a_rc_h_2_2_,2_0_1_8__________

   Typed or printed name _Chad
                          _ _ _C.
                                _ Walters
                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          Registration No. ___4_a_,0_2_2___________


                                                                                 Page 2 of3
PTOL-85 Part B (10-13) Approved for use through 10/31/2013.                    OMB 0651-0033            U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
  Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 4 of 181



ATTORNEY DOCKET NO.                                                    PATENT APPLICATION
083523.0117                                                                      15/016,662
                                                 1

                 lN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re Application of:         Sean Rad et al.
Serial No.:                   15/016,662
Filed:                        February 5, 2016
Group No.:                    2153
Examiner:                     Yuk Ting Choi
Notice of Allowance Mailed: February 27, 2018
Confirmation No.:             9869
Title:                        MATCHING PROCESS SYSTEM AND METHOD

Mail Stop Issue Fee
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                        RESPONSE TO REASONS FOR ALLOWANCE

          Applicant appreciates the Examiner's allowance of Claims 44, 45, 49, 53, 54 and 58.
Pursuant to 37 C.F.R. § 1.104, Applicant respectfully issues a statement commenting on the
Examiner's reasons for allowance. Applicant respectfully disagrees with the Examiner's reasons
for allowance to the extent that they are inconsistent with applicable case law, statutes, and
regulations. Furthermore, Applicant does not admit to any characterization or limitation of the
claims or to any characterization of a reference by the Examiner, particularly any that are
inconsistent with the language of the claims considered in their entirety and including all of their
constituent limitations.
                                                     Respectfully submitted,
                                                     BAKER BOTTS L.L.P.
                                                     Attorneys for Applicant

                                                     /Chad C. Walters/

                                                     Chad C. Walters
                                                     Registration No. 48,022
Date: ~~~~~~~~~~~
CUSTOMER NO. 05073

DALO 1 :594456
                 Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 5 of 181



                                  Electronic Patent Application Fee Transmittal
 Application Number:                                 15016662


 Filing Date:                                        05-Feb-2016




 Title of Invention:                                 Matching Process System And Method




 First Named Inventor/Applicant Name:                Sean Rad


 Filer:                                              Barton E. Showalter/Karen Langford


 Attorney Docket Number:                             083523.0117


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                   Sub-Total in
                             Description                    Fee Code        Quantity      Amount
                                                                                                     USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


                         UTILITY APPL ISSUE FEE                 1501             1         1000        1000
            Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 6 of 181
                                                                                 Sub-Total in
                     Description              Fee Code   Quantity     Amount
                                                                                   USO($)


Extension-of-Time:


Miscellaneous:


                                                    Total in USO($)              1000
               Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 7 of 181
                                      Electronic Acknowledgement Receipt

                         EFSID:                          32129174


                  Application Number:                     15016662


         International Application Number:

                  Confirmation Number:                   9869




                    Title of Invention:                  Matching Process System And Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                          Barton E. Showalter/Karen Langford


                   Filer Authorized By:                   Barton E. Showalter


               Attorney Docket Number:                   083523.0117


                      Receipt Date:                      22-MAR-2018


                       Filing Date:                      05-FEB-2016


                      Time Stamp:                         14:48:23


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                   yes

Payment Type                                            DA

Payment was successfully received in RAM                 $1000

RAM confirmation Number                                  0323181NTEFSVl/00001122020384

Deposit Account

Authorized User

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
               Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 8 of 181




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 Document                                                                               File Size(Bytes}/                   Multi         Pages
                    Document Description                    File Name
  Number                                                                                Message Digest                     Part /.zip   (if appl.)

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      1            Issue Fee Payment (PT0-85B)               11 ?if.pdf                                                        no            1
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Information:

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     2                                                   11 ?Comments.pdf                                                      no            1
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Warnings:
Information:

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     3                Fee Worksheet (SB06)                  fee-info.pdf                                                       no           2
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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                       Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 9 of 181

                     UNITED STAIBS p AIBNT AND TRADEMARK OFFICE
                                                                                                      UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                      United States Patent and Trademark Office
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                                                                                                             Alexandria, Virginia 22313-1450
                                                                                                             www.uspto.gov



                                    NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                            EXAMINER
        5073           7590          02/27/2018
   BAKER BOTTS L.L.P.                                                                                                    CHOI, YUK TING
   2001 ROSS AVENUE
   SUITE 700                                                                                                ART UNIT                      PAPER NUMBER

   DALLAS, TX 75201-2980                                                                                       2153

                                                                                                    DATE MAILED: 02/27/2018



   APPLICATION NO.            FILING DATE                     FIRST NAMED INVENTOR                   ATTORNEY DOCKET NO.                CONFIRMATION NO.

       15/016,662              02/05/2016                           Sean Rad                                083523.0117                         9869
TITLE OF INVENTION: Matching Process System And Method




    APPLN. TYPE          ENTITY STATUS        ISSUE FEE DUE   PUBLICATION FEE DUE    PREV. PAID ISSUE FEE    TOTAL FEE(S) DUE                  DATEDUE

    nonprovisional     UNDISCOUNTED               $1000                $0                     $0                      $1000                    05/29/2018

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED.            THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity status still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



IL PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
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the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
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IMPORTANT REMINDER: Maintenance fees are due in utility patents issuing on applications filed on or after Dec. 12, 1980. It is
patentee's responsibility to ensure timely payment of maintenance fees when due. More information is available at
www .uspto.gov/PatentMaintenanceFees.
                                                                  Page 1of3
PTOL-85 (Rev. 02/11)
                        Case 6:21-cv-00147-ADA  Document
                                             PART B - FEE(S)15-11 Filed 04/22/21 Page 10 of 181
                                                            TRANSMITTAL
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                  or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                              Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                              Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)               papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmission.

                                                                                                                         Certificate of Mailing or Transmission
         5073             7590               02/27/2018                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    BAKER BOTTS L.L.P.                                                                               States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    2001 ROSS AVENUE                                                                                 transmitted to the USPTO (571) 273-2885, on the date indicated below.
    SUITE 700
                                                                                                                                                                       (Depositor's name)
    DALLAS, TX 75201-2980
                                                                                                                                                                              (Signature)

                                                                                                                                                                                   (Date)




    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                                 ATTORNEY DOCKET NO.        CONFIRMATION NO.

        15/016,662                   02/05/2016                                      Sean Rad                                        083523.0117                     9869
TITLE OF INVENTION: Matching Process System And Method


     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE         PUBLICATION FEE DUE          PREV. PAID ISSUE FEE         TOTAL FEE(S) DUE            DATEDUE

    nonprovisional         UNDISCOUNTED                     $1000                        $0                          $0                      $1000                 05/29/2018



                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

                CHOI, YUK TING                               2153                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).
                                                                                ( 1) The names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/SB/122) attached.
                                                                                (2) The name of a single firm (having as a member a
   0 "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is
   Number is required.                                                          listed, no name will be printed.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)




Please check the appropriate assignee category or categories (will not be printed on the patent) :    0 Individual 0 Corporation or other private group entity 0 Government
4a. The following fee(s) are submitted:                                   4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   0 Issue Fee                                                               0 A check is enclosed.
   0 Publication Fee (No small entity discount permitted)                    0 Payment by credit card. Form PT0-2038 is attached.
   0 Advance Order - #of Copies _ _ _ _ _ _ _ _ __                           0 The director is hereby authorized to charge the required fee( s), any deficiency, or credits any
                                                                                 overpayment, to Deposit Account Number                        (enclose an extra copy of this form).

5. Change in Entity Status (from status indicated above)
   0 Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
                                                                             fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
   0 Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                             to be a notification of loss of entitlement to micro entity status.
   0 Applicant changing to regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                             entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31and1.33. See 37 CFR 1.4 for signature requirements and certifications.


   Authorized Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Typed or printed name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                 Page 2 of3
PTOL-85 Part B (10-13) Approved for use through 10/31/2013.                     OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                       Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 11 of 181

                    UNITED STAIBS p AIBNT AND TRADEMARK OFFICE
                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
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   APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.               CONFIRMATION NO.

       15/016,662              02/05/2016                  Sean Rad                   083523.0117                         9869

                                                                                                       EXAMINER
        5073           7590          02/27/2018
   BAKER BOTTS L.L.P.                                                                               CHOI, YUK TING
   2001 ROSS AVENUE
   SUITE 700                                                                           ART UNIT                      PAPER NUMBER

   DALLAS, TX 75201-2980                                                                  2153

                                                                                DATE MAILED: 02/27/2018




                              Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                         (Applications filed on or after May 29, 2000)

The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.

Section l(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the
requirement that the Office provide a patent term adjustment determination with the notice of allowance. See
Revisions to Patent Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer
providing an initial patent term adjustment determination with the notice of allowance. The Office will continue to
provide a patent term adjustment determination with the Issue Notification Letter that is mailed to applicant
approximately three weeks prior to the issue date of the patent, and will include the patent term adjustment on the
patent. Any request for reconsideration of the patent term adjustment determination (or reinstatement of patent term
adjustment) should follow the process outlined in 37 CPR 1.705.


Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571 )-272-4200.




                                                         Page 3 of 3
PTOL-85 (Rev. 02/11)
      Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 12 of 181

                  OMB Clearance and PRA Burden Statement for PTOL-85 Part B

The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and
Budget approval before requesting most types of information from the public. When OMB approves an agency
request to collect information from the public, OMB (i) provides a valid OMB Control Number and expiration
date for the agency to display on the instrument that will be used to collect the information and (ii) requires the
agency to inform the public about the OMB Control Number's legal significance in accordance with 5 CFR
1320.5(b).

The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary
depending upon the individual case. Any comments on the amount of time you require to complete this form
and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT
SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box
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                                           Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
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The information provided by you in this form will be subject to the following routine uses:
  1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
     Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
     may be disclosed to the Department of Justice to determine whether disclosure of these records is required
     by the Freedom of Information Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
     to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
     settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
     request involving an individual, to whom the record pertains, when the individual has requested assistance
     from the Member with respect to the subject matter of the record.
 4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
     need for the information in order to perform a contract. Recipients of information shall be required to
     comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
     records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
     Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
     of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
     218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General
     Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
     responsibility to recommend improvements in records management practices and programs, under authority
     of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations
     governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive.
     Such disclosure shall not be used to make determinations about individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after either publication
     of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
     record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the
     record was filed in an application which became abandoned or in which the proceedings were terminated
     and which application is referenced by either a published application, an application open to public
     inspection or an issued patent.
 9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
     enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
                         Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 13 of 181

                                                                         Application No.                       Applicant(s)
                                                                         15/016,662                            RAD ET AL.
                                                                         Examiner                              Art Unit        AIA (First Inventor to File)
                        Notice of Allowability                                                                                 Status
                                                                         YUK TING CHOI                         2153
                                                                                                                               No

              -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
Al I claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.

 1. ~This communication is responsive to 0112212018.
         DA declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on ___.

2. D An election was made by the applicant in response to a restriction requirement set forth during the interview on _ _ ; the restriction
     requirement and election have been incorporated into this action.

3. ~The allowed claim(s) is/are 44.45.49.53.54 and 58. As a result of the allowed claim(s), you may be eligible to benefit from the Patent
     Prosecution Highway program at a participating intellectual property office for the corresponding application. For more information,
     please see http://www.uspto.gov/patents/init_events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

4. D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
           a) D All           b) D Some    *c) D None of the:
                    1. D Certified copies of the priority documents have been received.
                   2. D Certified copies of the priority documents have been received in Application No. _ _ .
                   3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                            International Bureau (PCT Rule 17.2(a)).
          * Certified copies not received: _ _ .


   Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
   noted below. Failure to timely comply will result in ABANDONMENT of this application.
   THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
5. D CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
          D     including changes required by the attached Examiner's Amendment I Comment or in the Office action of
                Paper No./Mail Date _ _ .
      Identifying indicia such as the application number {see 37 CFR 1.84{c)) should be written on the drawings in the front {not the back) of
      each sheet. Replacement sheet{s) should be labeled as such in the header according to 37 CFR 1.121{d).
6. 0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
    attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.



Attachment(s)
1. D Notice of References Cited (PT0-892)                                          5. ~ Examiner's Amendment/Comment
2. D Information Disclosure Statements (PTO/SB/08),                                6. ~ Examiner's Statement of Reasons for Allowance
      Paper No./Mail Date _ _
3. D Examiner's Comment Regarding Requirement for Deposit                          7. D Other _ _ .
      of Biological Material
4. ~ Interview Summary (PT0-413),
      Paper No./Mail Date 20180212.
 /YUK TING CHOI/
 Primary Examiner, Art Unit 2153




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                   Notice of Allowability                  Part of Paper No./Mail Date 20180212
     Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 14 of 181


Application/Control Number: 15/016,662                                             Page 2
Art Unit: 2153

                                    DETAILED ACTION

                                  Response to Amendment

1.     This office action is in response to applicant's communication filed on 01 /22/2018

in response to PTO Office Action mailed on 10/20/2017. The Applicant's remarks and

amendments to the claims and/or the specification were considered with the results as

follows.

2.     In response to the last Office Action, claims 44, 49 and 54 have been amended.

Claims 48, 52 and 57 are canceled. As a result, claims 44-47, 49-51, 53-56 and 58 are

pending in this office action.

                                 EXAMINER'S AMENDMENT

3.     An examiner's amendment to the record appears below. Should the changes

and/or additions be unacceptable to applicant, an amendment may be filed as provided

by 37 CFR 1.312. To ensure consideration of such an amendment, it MUST be

submitted no later than the payment of the issue fee.

       Authorization for this examiner's amendment was given in a telephone interview

with Mr. Clarke W. Stravinoha on 02/12/2018.

       The application has been amended as follows:



In the claim:



       44.      (Currently Amended) A method of navigating a user interface,
comprising:
     Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 15 of 181


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Art Unit: 2153

       presenting, on a graphical user interface, a graphical representation of a first item
of information of a plurality of items of information, the first item of information
comprising a graphical representation of a first online dating profile associated with a
first user. wherein presenting the graphical representation of the first item of
information of the plurality of items of information comprises presenting the first
item of information as a first card of a stack of cards;
       detecting a gesture associated with the graphical representation of the first item
of information, the gesture corresponding to a positive preference indication associated
with the first item of information, the positive preference indication associated with the
first item of information comprising an expression of approval for the first user
associated with the first online dating profile, wherein detecting the gesture
associated with the graphical representation of the first item of information
comprises detecting a right swiping direction associated with the gesture;
       storing the positive preference indication associated with the first item of
information in response to detecting the gesture;
       automatically presenting, on the graphical user interface, a graphical
representation of a second item of information of the plurality of items of information in
response to detecting the gesture, the second item of information comprising a
graphical representation of a second online dating profile associated with a second
user; and
       automatically removing the graphical representation of the first item of
information from the graphical user interface in response to detecting the gesture.
       46.    (Cancelled)


       47.    (Cancelled)
       49.    (Currently Amended) A system, comprising:
       an interface operable to:
              present a graphical representation of a first item of information of a
plurality of items of information, the first item of information comprising a graphical
representation of a first online dating profile associated with a first user, wherein the
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Application/Control Number: 15/016,662                                                  Page 4
Art Unit: 2153

interface is further operable to present the graphical representation of the first
item of information of the plurality of items of information as a first card of a
stack of cards;
       a processor coupled to the interface and operable to:
              detect a gesture associated with the graphical representation of the first
item of information, the gesture corresponding to a positive preference indication
associated with the first item of information, the positive preference indication
associated with the first item of information comprising an expression of approval for the
first user associated with the first online dating profile, wherein the processor is
further operable to detect a right swiping direction associated with the gesture;
              store the positive preference indication associated with the first item of
information in response to detecting the gesture; and
       the interface further operable to:
              automatically present a graphical representation of a second item of
information of the plurality of items of information in response to the processor detecting
the gesture, the second item of information comprising a graphical representation of a
second online dating profile associated with a second user; and
              automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


       50.    (Cancelled)


       51.    (Cancelled)


       54.    (Currently Amended) At least one non-transitory computer-readable
medium comprising a plurality of instructions that, when executed by at least one
processor, are configured to:
       present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information, the first item of information comprising
a graphical representation of a first online dating profile associated with a first user.i
     Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 17 of 181


Application/Control Number: 15/016,662                                                Page 5
Art Unit: 2153

wherein the plurality of instructions are configured to present the graphical
representation of the first item of information of the plurality of items of
information as a first card of a stack of cards;
       detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated
with the first item of information, the positive preference indication associated with the
first item of information comprising an expression of approval for the first user
associated with the first online dating profile. wherein the plurality of instructions are
further configured to detect a right swiping direction associated with the gesture;
       store the positive preference indication associated with the first item of
information in response to detecting the gesture;
       automatically present, on the graphical user interface, a graphical representation
of a second item of information of the plurality of items of information in response to
detecting the gesture, the second item of information comprising a graphical
representation of a second online dating profile associated with a second user; and
       automatically remove the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


       55.    (Cancelled)


       56.    (Cancelled)




                                  Reason for Allowance

       The following is an examiner's statement of reasons for allowance: The closest

references cited in the record fail to anticipate or render obvious the recited features in

the independent claims 44, 49 and 54. For example, the closest cited references do not

explicitly teach detecting a right swiping direction gesture corresponding to a positive
     Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 18 of 181


Application/Control Number: 15/016,662                                               Page 6
Art Unit: 2153

preference associated with a graphical representation of a first online dating profile

associated with a first user; automatically presenting a graphical representing of a

second dating profile associated with a second user in response to detecting the

gesture and automatically removing the graphical representation of the first item of

information from the graphical user interface in response to detecting the gesture and

as well as the previous intervening limitations in order to remove irrelevant entities to

the searcher which costs the user of the service time.




Any comments considered necessary by applicant must be submitted no later than the

payment of the issue fee and, to avoid processing delays, should preferably accompany

the issue fee. Such submissions should be clearly labeled "Comments on Statement of

Reason for Allowance."



                                         Conclusion



       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

1637. The examiner can normally be reached on 8:30 AM - 5:30 PM EST.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on (571) 272-4136. The fax phone
     Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 19 of 181


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Art Unit: 2153

number for the organization where this application or proceeding is assigned is 571-

273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/
Primary Examiner, Art Unit 2153
                    Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 20 of 181
                                                                                       Application No.                          Applicant(s)

                                                                                       15/016,662                               RAD ET AL.
        Examiner-Initiated Interview Summary
                                                                                       Examiner                                 Art Unit

                                                                                       YUK TING CHOI                            2153


 All participants (applicant, applicant's representative, PTO personnel):

(1) YUK TING CHOI.                                                                        (3) _ _ .

(2) Clark Starvinoha.                                                                     (4) _ _ .

    Date of Interview: 211212018.

     Type:            ~ Telephonic        0 Video Conference
                      0     Personal [copy given to: 0 applicant                  ~applicant's representative]

 Exhibit shown or demonstration conducted:                       0 Yes            ~No.
     If Yes, brief description: _ _ .


Issues Discussed               01 01   0112 01 02 ~1 03 OOthers
(For each of the checked box( es) above, please describe below the issue and detailed description of the discussion)


Claim(s) discussed: 44.

 Identification of prior art discussed: NONE.

Substance of Interview
(For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc ... )


 The Examiner suggested Applicant to incorporate some of the important features in the claims to expedite the
prosecution process. Applicant agreed and authorized the Examiner to make changes through the Examiner's
Amendemnt.




Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.


Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.


0 Attachment
/YUK TING CHOI/
Primary Examiner, Art Unit 2153


U.S. Patent and Trademark Office
PTOL·413B (Rev. 8/11/2010)                                               Interview Summary                                                    Paper No. 20180212
                Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 21 of 181

                                         Application/Control No.                    Applicant(s)/Patent Under
                                                                                    Reexamination
           Search Notes                   15016662                                  RAD ET AL.

                                         Examiner                                   Art Unit

                                         YUK TING CHOI                              2164




                                                  CPC-SEARCHED

                          Symbol                                                I         Date        I        Examiner
 H04L67/306 OR G06F17/30011 OR G06F17/3053                                      I      2/12/2018      I          YC

                                    CPC COMBINATION SETS - SEARCHED

                                      Symbol                                    I          Date       I        Examiner
                                                                                I                     I

                                        US CLASSIFICATION SEARCHED

      Class           I                     Subclass                            I          Date      I     Examiner
                      I                                                         I                    I
* See search history printout included with this form or the SEARCH NOTES box below to determine the
scope of the search.


                                                  SEARCH NOTES

                                   Search Notes                                            Date                Examiner
 H04L67/306 OR G06F17/30011 OR G06F17/3053, see attached search                        2/12/2018
 history
 Google NPL Search                                                                     2/12/2018          YC
 East text search, see attached search history                                         2/12/2018          YC
 Assignee and Inventor search                                                          2/12/2018          YC
 Counsulted Paul Rodriguez for 101 MQAS TC2100                                         4/25/2017          YC



                                            INTERFERENCE SEARCH

   US Class/                        US Subclass I CPC Group                                Date            Examiner
  CPC Svmbol
                          H04L67/306 OR G06F17/30011 OR G06F17/3053, see               2/12/2018          YC
                          attached search history




                                                            /YUK TING CHOI/
                                                            Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                   Part of Paper No. : 20180212
                Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 22 of 181


Bibliographic Data
Application No: 15016662
Foreign Priority claimed:             0 Yes      @No
35 USC 119 (a-d) conditions met:      0Yes
                                   ~~~~~~~~~~
                                                 ~No                D Met After Allowance
Verified and Acknowledged:
                                   Examiner's Signature            Initials

Title:                             IMatching Process System And Method


         FILING or 371(c) DATE        CLASS       GROUP ART UNIT              ATTORNEY DOCKET NO.
         02/05/2016                   707         2153                        083523.0117
         RULE

APPLICANTS
  Tinder, Inc., West Hollywood, CA,
INVENTORS
  Sean Rad, Los Angeles, CA, UNITED STATES
  Jonathan Badeen, North Hollywood, CA, UNITED STATES
CONTINUING DATA
  This application is a CON of 14059192 10/21/2013 PAT 9733811
  14059192 has PRO of 61793866 03/15/2013
  14059192 is a CIP of 1233930112/19/2008 PAT 8566327
FOREIGN APPLICATIONS
IF REQUIRED, FOREIGN LICENSE GRANTED**
  02/19/2016
STATE OR COUNTRY
  UNITED STATES
ADDRESS
  BAKER BOTTS L.L.P.
  2001 ROSS A VENUE
  SUITE 700
  DALLAS, TX 75201-2980
  UNITED STATES
FILING FEE RECEIVED
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                            Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 23 of 181




                   EAST Search History

                   EAST Search History (Prior Art}



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                        Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 25 of 181




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EASTSearchHistory .150 l 6662_Accessible Version.htm[2/21/2018 4: 18:48 PM]
                         Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 26 of 181

                                              Application/Control No.        Applicant(s)/Patent Under Reexamination

 Issue Classification                         15016662                       RAD ET AL.

                                              Examiner                       Art Unit

                                              CAROL CHOI                     2153


 CPC
 Symbol                                                                                              Type                    Version

 G06F          ii]] 3              IM 04842                                                    F                        2013-01-01

 G06F          ii]] 17             IM 30554                                                                             2013-01-01

 G06F          ii]] 17             IM 30657                                                                             2013-01-01

 G06Q          ii]] 10             IM 10                                                                                2013-01-01

 G06Q          ii]] 30             IM 02                                                                                2013-01-01

 G06Q          ii]] 50             Im 10                                                                                2013-01-01

 G06Q          i]]i 50             Im 01                                                                                2013-01-01

 G06F          i]]i 3              Im 0482                                                                              2013-01-01

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 CPC Combination Sets
 Symbol                                                                 Type            Set          Ranking                 Version




 NONE
                                                                                                       Total Claims Allowed:

                                                                                                                    6
 (Assistant Examiner)                                                     (Date)
 /CAROL CHOI/
 Primary Examiner.Art Unit 2153                                         02/12/2018            O.G. Print Claim(s)        O.G. Print Figure

 (Primary Examiner)                                                       (Date)                      44                     Figs 6-9

U.S. Patent and Trademark Office                                                                                Part of Paper No. 20180212
                       Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 27 of 181

                                        Application/Control No.                         Applicant(s)/Patent Under Reexamination

 Issue Classification                   15016662                                        RAD ET AL.

                                        Examiner                                        Art Unit

                                        CAROL CHOI                                      2153



                US ORIGINAL CLASSIFICATION                                      INTERNATIONAL CLASSIFICATION
                CLASS                     SUBCLASS                            CLAIMED                                     NON-CLAIMED
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                      CROSS REFERENCE(S)

  CLASS              SUBCLASS {ONE SUBCLASS PER BLOCK)




 NONE
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 /CAROL CHOI/
 Primary Examiner.Art Unit 2153                                                  02/12/2018                 O.G. Print Claim(s)       O.G. Print Figure

 (Primary Examiner)                                                                (Date)                           44                    Figs 6-9

U.S. Patent and Trademark Office                                                                                              Part of Paper No. 20180212
                       Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 28 of 181

                                                      Application/Control No.                             Applicant(s)/Patent Under Reexamination
 Issue Classification                                 15016662                                            RAD ET AL.

                                                      Examiner                                            Art Unit

                                                      CAROL CHOI                                          2153



 D         Claims renumbered in the same order as presented by applicant                   D         CPA           D      T.D.            D       R.1.47

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 NONE
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 /CAROL CHOI/
 Primary Examiner.Art Unit 2153                                                                   02/12/2018                O.G. Print Claim(s)          O.G. Print Figure

 (Primary Examiner)                                                                                  (Date)                         44                       Figs 6-9

U.S. Patent and Trademark Office                                                                                                                 Part of Paper No. 20180212
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    Comrnissioner for Patents                                                                                                Examiner Name                                     i'·fok Ting Cho'
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3.                                       Th~; RCE fee under 37 CFR 1.17(e) is requi,ed by 37 CFR '1.114 when \hr: RCE is filed.
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                       i.           [?] RCE fee required under 37 CFR 1 17(e)
                                    [.... J Extension of time fee (37 CFR U36 ~r:rJ 1.17)
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ATTORNEY'S DOCKET                                                  PATENT APPLICATION
083523.rn 17                                                            USSN 15/016,662
                                            l of 14




First Named lnve:ntor:         Sean Rad
Filed:                         February 5, 2016
Serial Number:                 15/016,662
Group Art Unit                 2153
Confirmation No.               9869
Examiner:                      Yuk Ting Choi
Title:                        Matching Process System and Afetlwd



Commissioner for Patents
P.O. Box 1450
A lexandrfa, Virginia 223 U-1450




Dear Sir:


            Rcs[!om;e Accompanying Request for Continued Eumhrnfo:n:i ("RCE"}
         In response to the Final Office Action dated October 20, 2017 (the "Office Action"),
and in connection v1hh a requested fbr continued examination ("RCE"), Applicant
respectfuily requests the Examiner to reconsider the rejection of the claims in view of the
following amendments and remarks. Please amend the application as follows.
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~n JhiL£Iatm
         Claims 1-43 (Canceled)


         44.       (Currently Amended) A method of navigating a user interface, comprising:
         presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information, the fi:n;;t item of info:nnation comprising

g_g.f~lphl.cHl n.'J?rNK~11tatkm !)f <;Ult~L~1!!lhHU1~~ting prnfl:fo ~wsi:~cfat~d ~iJJh <~ f:k:<itJ,!tH.~r;

         detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information~ the positive _nreforen£!Li!!Ui£&1tQn ,~S§Od{ated with the first item
DJ..L~t!l!nmithm t.oni.~)d~•iitg ,~l!Lt1€1t~I~lit!mL~t£.i~JWLm::aLfui· .th\~ tk~l m&r a~Q£l1~J.~tft1~d!!!
the first onHne dating profile;
         storing the positive preference indication associated with the first item of information
in response to detecting the gesture;
         automatically presenting, on the graphical user interface, a graphical representation of
a second item of information of the plurality of items of information in response to detecting

the gt:sture,~,JlW ..f&fQmL!!f~m (?Il!lli!f1mili1.>~Cf'.c~1&!1!I!:!.!ltK"tLK!:~nlrk~~l. n~JU't'senfa~~~m. of~~.
('!~_fQKtQ.».!!li!lc q_~!timt. m:s~me a,1~E~f.J~rniLTI'.!!h..~.:~ti,:.fmd mH.~i·; and
         automatically removing the graphical representation of the first item of information
from the graphical user interface Jn response to detecting the gesture.


         45.       (Previously Presented)           The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.


         46.       (Previously Presented)            The method of Clairn 44, wherein detecting the
gesture associated with the graphical representation of the first item of information comprises
detecting a swiping direction associated with the gesture.
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         4 7,   (Previously Presented)   The method of Claim 44, wherein presenting the
graphical representation of the first item of inforrnatlon of the plurality of items of
information comprises presenting the first item of information as a first card of a stack of
cards.


         48,    (CanceHecl)
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          49.       (Currently Amended) A system, cornprising:
          an interface operable to:
                    present a graphical representation of a firsl item of information of a plurality
of items of information, the first item of information cmnprising a gnmhical
n~ ptl~~{~n t~~JJ&~1uKitfirn1-~~,!\Et!tJfa!!tmr_1~.rnfil{~ ~~ss~~(~int:ed w!_mJ~_Jl~:ItJ~~i~r::
          a processor coupkd to the interface and operable to:
                    detect a gesture associated '"'ith the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated '-Vith the

first item of inforrnation.JJ!tJli~&!!h£.JH~f{T~1~'~~ lli~Jlrntfo~! as}li:1datN.L!Y!iltJhiUJ!~LH:rm
of h1forn1•~th~,~L£W11tl!:!nJillL!H~ exRtt<i~hw n.f •i..n.rmrnil. ft>!:. ..i!tiUJJ:liLWW.:.L asMifhlkd with
the firnt online dating nrnfik;
                    store the positive preference indication associated Vlith the first item of
information in :response to detecting the gesture; and
         the interface further operable to:
                    automatically present a graphical representation of a second item of
information of the pluralify of items of information in response to the processor detecting the

gesture, Hs({__ltt~~!:~~..!5..LJ..t~tm ...r~f..JR~~~wrn1~tfou th~11pri;;.;fog {LgflU?Jlc!i:f!.I. . .rt.m:g~fTl:!i~JioJl of <~
second onHne dating Qrnfik a~rnodated with a second user; and
                   automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


          50.      (Previously Presented)            The system of Claim 49, wherein the processor is
fmther operable to detect a swiping direction associated with the gesture.


          5L       (Previously Presented)            The system of Claim 49, wherein the interface is
further operabk to present the first item of information as a first card of a stack of cards.


         52.       (Cancdkd)
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       53.     (Previously Presented)   The system of Claim 49, wherein the interface is
further operable to present user interface controls such that aH user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item ofinfbrmatfon.
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         54.      (Currently Amended)           At k:ast one non-transitory          computer~readabk

medium comprising a plurality of instructions that, when executed by at least one processor,
are configured to:
         present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items ofinformationi the first item of information comprising
~1.&!:m!!tltt~.LrtPr~$(~nfatlon i:1f ~1 fk~Bm!J~t~__tlttH!~kU!f.!tFfo Hssm'fah~d with :i fit~!I~B&!z;
         detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information$..;,tJw !JOSitive pref('H~lWf im:~g_~Iil&!tl!~'it1di~fod "!(ithJhti'fr~t l!!m
.!~tLH!It~X!t!t~L!!Jn ('mupd~iiig ~n tX~)r(~~~imu:tLUIHntxalfo.Lths::JltlL~a5>('r assnci:~t~<L1Ylth

!Jl~..JJl'St on.line dating lf fOfit~;

         store the positive preference indication associated wlth the first item of information in
response to detecting the gesture;
         amomatically present, on the graphical user interface, a graphical representation of a
second itern of information of the plurality of items of information in response to detecting

the gesture.~t~iUmt-lWiLJ.t~!JL!!f iHf(it'fHHJion eMi:tm:t~Jn.K..tLKGWhi£f!l n~prc:wnfa~!i~1l of ~t
second m1Hne dating profile associated with a second usc1·; and
         automatically remove the E,'TaphicaJ representation of the first item of information
from the graphical user interface in response to detecting the gesture.


         55.      (Previously Presented)     The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to detect a
swiping direction associated with the gesture.


         560      (Previously Presented)     The at least one non-transitory computer-readable
medium of Clairn 54, wherein the plurality of instructions are configured to present the first
item of information as a first c:ard of a stack of cards.


        57.      ((_:ancelled)
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       58.     (Previously Presented)    The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present
user interface controls such that aH user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated \Vith
performing an action on the first item of information,
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                                            11t~~:M:!~$~
        This Application has been reviewed carefully in light of the Office Action. Applicant
appreciates the Examiner's consideration of the Application. At the time of lhe Office Action,
Claims 44~58 were pending. The Ofike Action rejects these claims. Although Applicant
believes all claims are allowable without amendment, to advance prosecution Applicant has
made clarifying amendments to Claims 44, 49, and 54, and has cancelled Claims 48, 52, and
57 without pr«_judice or disclaimer. At !east certain of these amendments are not considered
narrowing, and none are considered necessary for patentability, Fmihermore, Applicant does
not admit that these amendments or cancellations are necessitated by or made in response to
any cited reference or combination of cited references. Applicant respectfully requests
reconsideration and favorable action in this case.


Reguest for Examiner Interview
        Tf the Examiner intends to issue a new Office Action in response to this submission, in
the interest of compact and efficient prosecution, Applicant respectfully requests that the
Examiner contact Applicant's attorney prior to issuing the new Office Action to discuss a
possible resolution to any outstanding issues.


Claim Rejections under 35 U.S.C, § 101
        The Office Action rejeds Claims tltl-58 under 35 U.S.C. § l 01 as allegedly being
directed   w non-statutory sul::ject matter. Applicant respectfully disagrees, and discusses
amended independent Clalm 44 as an ex.ample.
        Applicant's earlier responses have demonstrated that: (1) the claims are not directed
to an abstract idea; (2) even if the claims are directed to an abstract idea ('v11hich they are not),
the claims recite an inventive concept; and (3) that the Office Action has not established a
prima facie case of ineligibility under 35 USC. § 101.             See, e.g, Response filed with
Request for Continued Examination filed April 20, 2017, Response Pursuant to 37 C.F.R §
1.111 filed August 22, 2017.       To avoid burdening the record, Applicant incorporates by
refermce the arguments set forth in Applicant's earlier responses with respect to the rejection
under section 35 USC § 101. As described in more detail below, the rejection under 35
U .S.C. § 101 maintained by the Office Action remains deficient
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                 1.       Ihg;J)ffice /-\g!i.Q!Lll£@__ng_t__~!?1~R_U.~h~-~Lth!ittbe claims are Q_t!:~-~t~fLtfLWJ
                          §,R_~trn&J)de~

        The rejection, and the O:t11ce Action's response to Applicant's previous arguments,
fail w make up for the deficiencies identified by Applicant in its previous responses_ With
respect to step l of the Alice analysis, the Office Action continues to oversimply the claims,
vvhich are direcled to a specific technical improvement related to navigating a user interface,
not the abstract idea of ''identi(ying related infrinnation and returning a. record after receiving
a preforence response from a user," as alleged. Office Action at 6. This is the same kind of
oversimplification that the Federal Circuit has cautioned against. See McRO, 337 F.3d at
1313 ("We have previously cautioned that courts "mu;:;t be careful to a.void oversimplifying
the claims" by looking at them generally and failing to account for the specific requirements
of the claims.").
        In response to Applicant's arguments regarding the Office Action's failure to
establish a prima facie case of ineligibility, the Office Action suggests that "the examiner has
met this burden by identifYing that the recited steps of the claim describe 'detecting ll gesture
corresponding to a positive indication associated with the first item of infbrmation ... ' and
explaining thllt this is an abstract idea that is not meaningfi.llly different than the abstract
ideas drnvm to abstract concepts identified in Int. llentures ;>_ Erie Indemnity Co." Office
Action at 3. But this is not the case . .For the reasons explained in the Response Pursuant to 37
C. F.R. § l.111 filed August 22, 2017, the Office Action does not provide the requisite
explanation to establish a prima fade case of ineligibility.                  S'ee USPTO May 4, 2016
Memorandum: Formulating a Sllbject Matter Eligibility Rejection and Evaluating the
Applicant's Response to a Subject Matter Eligibility Rejection, at 2 ("Memorandum") (noting
that "[ w ]hen the examiner has determined the clairn recites an abstrn.ct idea, the rejection
should identifv the abstract idea as it is recited (e.g., set forth or described) in lhe claim, a.nd
i:'.0p_l;;ijn __\:Y.hY it corresponds to a. concept that the courts have identified as an abstract idea").
        Merely stating that "[i]t ls similar to other concepts that have identified as abstract by
the courts, such as remotely accessing and retrieving user-specified information in lnt.
Ventures v. Erie Indemnity Co." is not a sufficient explanation to establish a prima facie case
of ineligibility. Office Action at 6. The Office Action provides no explanation as tn how, in
the context of a method of navigating a user interface, detecting a gesture corresponding to a
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positive preforence indication associated with ihe first item of information" is not
meaningfully different from "identif)'lng related information and returning a record after
receiving a preference response from a user" or "accessing and retrieving user~spedfied
information."    Office Action at 6.    Al a minimum, amended Claim 44 is meaningfully
different at least because it recites "detecting a gesture," a concept that is notably absent from
both the Office Action's articulation of the alleged abstract idea and its characterization ofthe
decision in intellectual ·ventures v. Erie Indemnity Co., 850 F.3d 13 J5 (Fed. Cir. 2017).
        Thus, the Office Action's so~called explanation is nothing more than an unsupported,
conclusory assettion that provides no analysis supporting any alleged similarities between the
claims and concepts at issue here (navigating a user interface) and those at issl1e in
intellectual Ventures. As previously explained, amended Claim 44 ls distinguishable from
those in Intellectual Ventures, which related to "systems and methods for accessing a user's
remotely stored data and files" (id at 1329), not an improved roethod for navigating a user
interface as recited in amended Claim 44. That both claims recite an interface is insufficient
to establish the similarity suggested (but not supported) by the OfTice Action, especially

given that the claims at issue here relate to navigating a graphical user i'nterface and the
Oflke Action has not demonstrated any analogous concept was present in the claims found
ineligible in lntellectuol ·ventures. Compare id at 1330 (describing a representative claim
containing a mobile interface) with amended Claim 44 (reciting a method of navigating a user
interf-hce). As explained in the Response filed with Request for Continued Examination filed
April 20, 201 7, the claims are more appropriately compared to those in Trading Techs. Int'!,
inc. v. CQG, lnc., No 2016-1616, 2017 WL 192716, at *J-2 (Fed. Cir. Jan. 18, 2017).
        Thus, the Office Action h2_s not established a prima facie case that amended Claim 44
is directed to an abstract idea.




        The Office Action has not demonstratt:d that the claims do not recite an inventive
concepl. Rather, the OfI1ce Action continues w rely on conclusory assertions and portions of
Applicant's specification that describe existing network architectures and protocols which
Applicant previously demonstrated are irrelevant to the analysis of whether the improved
method of navigating a user interface of Claim 44 recites <rn inventive concept See Office
    Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 40 of 181


A TTORl"lEY'S DOCKET                                                  PATENT APPLICATION
083523.0117                                                                U SSN l 5/016,662
                                             1 l of 14


Action at 3 (citing Applicant's U.S. Patent Publication 2016/0154569 ("Specification") at
t~!0004-6),   The Ofilce Action falls to consider, for ex.ample, Applicant's description of the
problem that "search results of these services may contain many irrelevant entities to the
searcher" and that "[t]his costs the user of the service time and may deter them from
continuing through all of the search results."      Specification at ~]fHi08. A.side from being
unsuppo1ted, the Office Action's assertions that "the recited steps or acts e.g .... removing
perform only basic generic computer/server data retrieval functions, which are common to all
content service" ignores relevant disclosure in Applicant's specification that suggests at least
this aspect of amended Claim 44 recites an inventive concept, both individually and when
considered as an ordered combination. For example, Applicant's specification explains that
automatically rernoving the graphical representation of the first item of information from the
graphical user interface in response to detecting the gesture is ''beneficial because it may
focus user 14 on evaluating new entities rather than reevaluating previously-known entities
because the entities still appear in result list Lt'' Applicant's Specification at iroo44. For at
least this reason, the claims recite an inventive concept and are therefore patent-eligible.
       For at kast these reasons, amended Claim 44 is directed to patent-eligible subject
matter, as are Claims 45-4 7 that depend therefrom. For at least ce1tain analogous reasons,
amended Claims 49 and 54 are directed lo patent-eligible sutuect matter, as are their
dependent claims, Applicant respectfully requests reconsideration and allmvance.


Claim H.eieefams Under 35 U.S.C § 102
       The Office Action rejects Claims 44-58 under 35 U.S.C. § 102(e) as aHegedly being
anticipated by U.S. Patent Publication No. 2013/0179925 Al to Woods et al. ("liVoods"). 1
The Office Action also rejects Claims 48, 52, and 57 under 35 U.S.C. § J02(e) as being
unpatentabk over JiVood~ in view of tLS. Patent Publication No. 2011 /0087974 Al to Kulus
("Ku/us"). 1 Applicant respectfully tn1verses these rejections and discusses amended

1
   Although the Office Action purports to reject Claim 48 under 35 U.S.C. § 102 over Wood~
(see Office Action al 7), the Office Action does not actually articulate a bases for rejecting
Claim 48 over ~Vood>.
1
  Although the Office Action states that Claims 48, 52, and 57 are rejected under 35 U.S.C. §
 I02{e) as being tmpatentabk by Wood~ and Kulus, the Office Action appears to contemplate
a rejection under 35 U.S.C. § 103c Applicant respectfolly requests appropriate clarification of
the ground of rejection.
  Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 41 of 181


A TTORc'fEY'S DOCKET                                                   PA TENT APPLICATION
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independent CJaim ,:14 as an example.
        At a minimum, IiVoods does not disclose, teach, or suggest "presenting, on a graphical
user interface, a graphical representation of a first item of information of a plurality of iterns
of information, the first item of information comprising a graphical .representation of a first
online dating profile associated with a flrst user," as recited in amended Claim 44. The
Office Action does not allege that vVood~ discloses these features of amended CJaim 44.
Moreover, Woods does not disclose these features of amended Claim 44.                As allegedly
disclosing the claimed "first item of information," the Office Action relies on disclosure in
Woods relating to the determination and display of related content. See Office Action at 7~8
(citing VVoods at 9'110077~ 79). The cited portion discloses that "[rJelated content region 550
may display representations of the list of content related to first media asset 510 that matches
a profile associated with the user." Woods at 'f0079. The mere disclosure of displaying a list
of related content, however, does not disclose ''presenting, on a graphical user interface, a
graphical representation of a first item of information . . . the first Item of information
comprising a graphical representation of a first ouline dating profile associated with a .first
user," as recited in amended Claim 44.
       At least because FVoods does not disclose "presenting, on a graphical user interface, a
graphical representation of a fin;t item of information of a plurality of items of infimnation,
the first item of information comprising a graphical representation of a first online dating
profile associated wHh a first user,'' it follows that i.Yoods also does not disclose: "detecting a
gesture associated with the graphical representation of the first item of information, the
gesture corresponding to a positive preference indication associated 'With the first item t~f
i!~fimnation, the positive preforence indication associated with the first item of il~formution

comprising an e;xp.ression of approval for the first u,<;e.r associated with the first anline
dating profile," "storing the positive preference indication associated with the jlrst item of
infornwtion in response to detecting the gesture," and "automatically removing the
graphical representation of the first item '~f information from the graphical user interface
in response to detecting the gesture," as recited in amended Claim 44. Moreover, at ieast
because rVoods does not disclose displaying graphical representations of a profile, let alone
"a grapbica l representation of a second online dating profile associated with a second user,"
Woods also fails to disclose "automatically presenting, on the graphical user interface, a
   Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 42 of 181


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083523.0117                                                                           lJSSN 15/016,662
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graphica.l representation of a second it;;;rn of inti.m:nation of the plurality of items of
information in response to detecting the gesture, the second item of information comprising a
graphical representation of a second online dating profile associated with a second user," as
recited in amended CJaim 44.
         Thus, $Foods does not disclose every foature of amended Claim 44, and therefore does
not anticipate the claim. See M.P.E.P. § 213 l ("A claim is antidpated only if each and every
element as set forth in the claim is found, either expressly or inherently described, in a single
  . art re f'erence. ,,.) (c1tmg
pnor                      . ..   ,. '
                                 v·eraegaa l bros.
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                                                   v. '"Jmon . ... ,""'
                                                                     co. (?;·.!'("Jhljornw,
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631, 2 USPQ2d 1051, 1053 (Fed. Cir. 1987)).
         For m least these reasons, amended Claim 44 is allo>vvab!e, as are Claims <15-48 that
depend therefrom. For at least certain analogous reasons, Claims 49 and 54 are allowable,
together with their dependent claims. Applicant respectfully requests reconsideration and
allowance.


Regucst for Evidentiary Support
         Should a rejection based on any of the above asserted rejections be maintained,
Applicant respectfully requests appropriate evidentiary support. For example, if the Examiner
is relying on alleged "common knowledge," alleged ''lvell known" principles, "Official
Notice," or other information within tbe Examiner's personal knowledge, Applicant
respectfully reque;;ts that the Examiner cite a reforence as documentary evidence in support
of this position or provide an affidavit. See NLP.E.P. § 2144.03 and 37 C.f,R. § L104(d)(2).


NP Waiver
        Applicant's argument;; and amendments are made without prejudice or disclaimeL By
not responding to additional statements made by the Examiner, Applicant does not acquiesce
to the additional statements. The distinctions between the applied references and the claims
are provided as examples only and are sufficient to overcome the rejections. Applicant
reserves the right to discuss additional or other distinctions in a iater response or on appeal, if
appropriate.
    Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 43 of 181



ATTORNEY'S DOCKET                                                        PATENT AP PUCA TION
083523.01J7                                                                   USSN 15/016,662
                                                   14of14


                                                 fonclusiora:
             Applicant has made an earnest attempt to place this case in condition for allowance_
For at least the above reasons, Applicant respectfully requests foll allowance of all pending
claims.
            If a telephone conference vvmdd advance prosecution of this Application, the
Examiner may contact Clarke \V, Stavinoha, Attorney for Applicant, at 214.953.6484. The
Examiner may also communicate with Clarke Stavinoha concerning this Application by
electronic mail at clarke.stavinoha(rifo<!_kfJQ_Q.tl~,-~9m.
             As indicated on the accompanying RCE Transmittal form, the Commissioner is
authorized to charge the amount of $1,900 for the RCE foe to Deposit Account No. 02-0384
of Baker Botts L.L.P. Although Applicants believe no other fees are due, the Commissioner
is authorized to charge any necessary additional foes and credit any overpayments to Deposit
Account No_ 02-0384 of Baker Botts LLP.




                                                     Respectfully submitted,

                                                     BAKER BOTTS LLP.
                                                     Attorneys for Applicant




                                                     Clarke W. Stavinoha
                                                     Reg. No. 71,152
                                                     Telephone: 214.953.6484


Date; ___ :;:J:,:'.:·:'.~·;,'L\J ), •. ) ui i{
            ,,
Correspondence Address:

Customer No:                          05073




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                 Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 44 of 181



                             Electronic Patent Application Fee Transmittal
 Application Number:                            15016662


 Filing Date:                                   05-Feb-2016




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Clarke W. Stavinoha/Laurie Scott


 Attorney Docket Number:                        083523.0117


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                              Sub-Total in
                         Description                   Fee Code         Quantity     Amount
                                                                                                USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 45 of 181
                                                                                   Sub-Total in
                    Description                Fee Code      Quantity     Amount
                                                                                     USO($)


Miscellaneous:


           RCE- 2ND AND SUBSEQUENT REQUEST       1820           1          1900        1900


                                                        Total in USO($)            1900
             Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 46 of 181
                                       Electronic Acknowledgement Receipt

                          EFSID:                                31569558


                  Application Number:                            15016662


         International Application Number:

                  Confirmation Number:                          9869




                    Title of Invention:                         Matching Process System And Method




       First Named Inventor/Applicant Name:                     Sean Rad


                   Customer Number:                             5073


                           Filer:                               Clarke W. Stavinoha/Laurie Scott


                   Filer Authorized By:                         Clarke W. Stavinoha


               Attorney Docket Number:                          083523.0117


                      Receipt Date:                             22-JAN-2018


                       Filing Date:                             05-FEB-2016


                      Time Stamp:                                16:25:13


                    Application Type:                           Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   DA

Payment was successfully received in RAM                        $1900

RAM confirmation Number                                         0123181NTEFSW00003740020384

Deposit Account                                                 020384

Authorized User                                                 Laurie Scott

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      37 CFR 1.16 (National application filing, search, and examination fees)
      37 CFR 1.17 (Patent application and reexamination processing fees)
               Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 47 of 181
       37 CFR 1.19 (Document supply fees)

       37 CFR 1.20 (Post Issuance fees)

       37 CFR 1.21 (Miscellaneous fees and charges)




File Listing:
 Document                                                                                      File Size(Bytes}/                           Multi              Pages
                       Document Description                       File Name
  Number                                                                                       Message Digest                             Part /.zip        (if appl.)

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                   Request for Continued Examination      0835230117RCETrans012218.
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                                                 Multipart Description/PDF files in .zip description

                                          Document Description                                              Start                                  End


                          Amendment Submitted/Entered with Filing of CPA/RCE                                     1                                     1



                                                 Claims                                                         2                                      7



                          Applicant Arguments/Remarks Made in an Amendment                                      8                                      14


Warnings:
Information:

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      3                   Fee Worksheet (SB06)                    fee-info.pdf                                                               no                 2
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             Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 48 of 181

This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                        Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 49 of 181
                                                                                                                                                                                 PTO/SB/06 (09-11)
                                                                                                                                                Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                             U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                                           Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number.

    PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number                Filing Date
                                       Substitute for Form PT0-875                                                      15/016,662                      02/05/2016             D To be Mailed

                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

  D BASIC FEE                                             N/A                                 N/A                                        N/A
          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                 N/A                                        N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                 N/A                                        N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
  0APPLICATION SIZE FEE
                                               for small entity) for each additional 50 sheets or
    (37 CFR 1.16(s))
                                               fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                               CFR 1.16(s).
  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)              (Column 3)

                                   CLAIMS                           HIGHEST
                                   REMAINING                        NUMBER
f--
           01/22/2018              AFTER                            PREVIOUSLY
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
z                                  AMENDMENT                        PAID FOR
w         Total (37 CFR
:;:;;:     1.16(j))
                                   * 12                 Minus       ** 20                =   0                                  x $100 =                                       0
0          Independent
z         (37 CFR 1 .16(h))        * 3                  Minus       ***3                 =   0                                  x $460 =                                       0
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<(
           D Application Size Fee (37 CFR 1.16(s))
           D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE                               0
                                       (Column 1)                        (Column 2)              (Column 3)

                                     CLAIMS                          HIGHEST
                                    REMAINING                        NUMBER
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
                                      AFTER                         PREVIOUSLY
                                   AMENDMENT                         PAID FOR
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 z        Total (37 CFR
                                   *                    Minus       **                   =                                      x $            =
 w         1.16(i))
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 0        (37 CFR 1 .16(h))        *                    Minus       ***                  =                                      x $           =

 z         D Application Size Fee (37 CFR 1.16(s))
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 <(        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE

  * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                         LIE
  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                MYRTLE LEIGH
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
  The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of 1nformat1on 1s required by 37 CFR 1.16. The 1nformat1on 1s required to obtain or retain a benefit by the public which 1s to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1 .14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PT0-9199 and select option 2.
                Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 50 of 181
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       15/016,662               02/05/2016                  Sean Rad              083523.0117                         9869

       5073             7590             10/20/2017
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 700
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   10/20/2017                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                        Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 51 of 181
                                                                                    Application No.                               Applicant(s)
                                                                                    15/016,662                                    RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2153
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE .J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 812212017.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)~ This action is FINAL.                 2b)0 This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 44-58 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 44-58 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PF'Hfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) 0 Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2) 0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
         Paper No(s)/Mail Date _ _ .
                                                                                                  4)   0 Other: _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20170922
      Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 52 of 181


Application/Control Number: 15/016,662                                                       Page 2
Art Unit: 2153

                                      DETAILED ACTION

                                    Response to Amendment

1.     This office action is in response to applicant's communication filed on 08/21 /2017 in

response to PTO Office Action mailed on 05/22/2016. The Applicant's remarks and

amendments to the claims and/or the specification were considered with the results as follows.

2.      In response to the last Office Action, no claims have been amended, added or canceled.

As a result, claims 44-58 are pending in this office action.




                                    Response to Arguments

3.      Applicant's arguments with respect to 35 USC 101 rejections have been fully considered

but are not persuasive and details are as follows:

        a) Applicant's argument with respect to 101 rejection states as "The claims are not

directed to an abstract because the office Action's reformation of the alleged abstract idea still

fails to account for 'detecting a gesture' and that the remaining steps are performed 'in response

to detecting the gesture' ".

        In response to Applicant's argument, the Examiner disagrees because the broadest

reasonable interpretation to the claimed "detecting a gesture" is merely detecting an user

input/response associated with a piece of object or data and the broadest reasonable

interpretation to the claimed "the gesture corresponding to a positive preference indication

associated with the first item of information" is merely describing a response/feedback to an

item/object from a user. The remaining steps such as storing the positive preference indication,

presenting a second item of information and removing the first item of information are performed

'in response to detecting the gesture". The recited method does not include additional elements

beyond the abstract idea of remotely accessing and retrieving user specified information that
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have identified as abstract by the courts [Int. Ventures v. Erie Indemnity Co.] Also in view of

Applicant's specification (See PGPUB, para. [0004]-para. [0006]), the recited steps or acts e.g.

detecting, storing, presenting and removing perform only basic generic computer/server data

retrieval functions, which are common to online-search service networking systems such as job

search services, person finding services, real estate services or online-dating services. These

network protocols/ function steps are well-understood, routine and convention activity to match

people/object having similar traits and values. When viewed either as individual limitations or as

an ordered combination, the claim as a whole does not add significantly more to the abstract

idea of remotely accessing and retrieving user-specified information.

        As mentioned in the previous office action mailed on 05/22/2017, in order to establish

that a claim is directed to an abstract idea, the Examiner provides a reasoned rationale that

identifies the concept recited in the claim and explains why it is considered an abstract idea.

This can be done by comparing the recited concept to concepts courts have found to be

abstract ideas. In this hypothetical, the examiner met this burden by identifying that the recited

steps of the claim describe "detecting a gesture corresponding to a positive indication

associated with the first item of information ... " and explaining that this is an abstract idea that is

not meaningfully different than the abstract ideas drawn to abstract concepts identified in Int.

Ventures v. Erie Indemnity Co. Therefore, the Examiner's burden has been met and a proper

prima facie case has been made.

        At last, preemption is not a standalone test for patent eligibility. Applicant's attempt to

show alternative uses of the abstract idea outside the scope of the claims does not change the

conclusion that the claims are directed to patent ineligible subject matter. Similarly, Applicant's

attempt to show that the recited abstract idea is a narrow and specific one is not persuasive. A

specific abstract idea is still an abstract idea and is not eligible for patent protection without
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signification more recited in the claim. The questions of preemption are inherent in the two-part

framework from Alice Corp and Mayo and are resolved by using two-part framework to

distinguish between preemptive claims, and those that integrate the building blocks into

something more ... the latter pose no comparable risk of preemption, and therefore remain

eligible." The absence of complete preemption does not guarantee the claim is eligible.

Therefore "[w]here a patent's claims are deemed only to disclose patent ineligible subject matter

under the Mayo framework, as they are in this case, preemption concerns are fully addressed

and made moot". Ariosa Diagnostics, INC, v. Sequenom, Inc. 788 F.3d 1371, 1379

(Fed.Cir.2015). See also OIP Tech., Inc. v, Amazon.com, Inc. 788 F.3d 1359, 1362-63 (Fed Cir.

2015).

         Hence, the 35 USC 101 rejections are maintained.



         b) Applicant's argument with respect to 35 USC 103 rejections for claims 44-58 have

been fully considered but are not persuasive and the details are as follow:

         Applicant's argument with respect to claim 44 states as "Woods does not disclose, teach

or suggest that the user gesture corresponds to a positive preference indication associated with

the first item of information ... the user gestures in Wood are merely used for sliding the related

content current being displayed off the display region so that the related content of another type

can be displayed ... Woods fails to disclose a positive preference indication associated with the

first item of information presented on the graphical user interface".

         In response to Applicant's argument, the Examiner disagrees because the claim

language as it is recited does not specify what is the first item of information and/or a positive

preference indication and the Examiner interpreted the first item of information is the first

displayed media content and the positive preference indication is a response/feedback with
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respect to the displayed media item. Woods discloses "detecting a gesture associated with the

graphical representation of the first item of information" since the Woods reference discloses

receiving a user gesture, e.g. a user swipes along a right direction associated with the displayed

media content, the displayed media content which is related to an audio type is the first item of

information. Woods also discloses "the gesture corresponding to a positive preference

indication associated with the first item of information" since the Woods reference is receiving a

gesture corresponding to a positive preference indication when the system receives a user

swipes along a right direction associated with the first displayed audio content, the user swipes

along a right direction associated with the first displayed audio content to turn on the video type

of media content. In response to the user gesture/feedback, the system retrieves and displays

related video content in place of the displayed audio media content (See Woods, para. [0099],

para. [0119], para. [0120] and Figure 11 ). Therefore, the Woods reference still read on the

argued feature.

       Applicant further argues "Woods does not disclose storing the positive preference

indication associated with the first item of information in response to detecting the gesture".

       In response to Applicant's argument, the Examiner disagrees because the Woods

reference discloses storing a user profile indicates user viewing history which includes a list of

the media content items that the user has previously accessed for a predetermined length of

time. The user profiles also stores user interests/preferences [e.g. users prefers video type of

content] regarding on the displayed audio type of media content (See Woods, [0033] and para.

[0076]). Therefore, the Woods reference still read on the argued feature.



                                Claim Rejections - 35 USC § 101

4.     35 U.S.C. 101 reads as follows:
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Whoever invents or discovers any new and useful process, machine, manufacture, or

composition of matter, or any new and useful improvement thereof, may obtain a patent

therefor, subject to the conditions and requirements of this title.



       Claims 44-58 are rejected under 35 U.S.C. 101 because the claimed invention is

directed to non-statutory subject matter.



        In claim 44, a "method" is being recited. The claim is directed to a method includes a

series of steps or acts for presenting a graphical representation of a first item of information;

detecting a gesture associated with the graphical representation of the first item of information,

storing the positive preference indication associated with the first item of information in response

to detect the gesture and automatically presenting a graphical representation of a second item

of information in response to detecting the gesture. In other words, the claim recites identifying

related information and returning a record after receiving a preference response from a user.     It

is similar to other concepts that have identified as abstract by the courts, such as remotely

accessing and retrieving user-specified information in Int. Ventures v. Erie Indemnity Co. The

additional step automatically removing the graphical representation of the first item of

information in response to detect the gestures the abstract idea, but do not make it less

abstract. The claim does not include additional elements beyond the abstract idea of identify

related information and returning a record. The recited steps or acts e.g. detecting, storing,

presenting and removing perform only basic generic computer/server data retrieval functions,

which are common to all content service. When viewed either as individual limitations or as an

ordered combination, the claim as a whole does not add significantly more to the abstract idea

of data retrieval of a record. Therefore, claim 44 is not patent eligible. Claims 45-48 do not
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have additional elements add significantly more to the abstract idea of data retrieval of a record.

Thus, claims 44-48 are not patent eligible. Claims 49 and 54 recited similar features as recited

in claims 44, therefore claims 50-53 and 55-58 also do not have additional elements add

significantly more to the abstract idea of data retrieval of a record, and they are not patent

eligible.


                                    Claim Rejections - 35 USC § 102

5.          In the event the determination of the status of the application as subject to AIA 35 U.S.C.

102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any correction of the

statutory basis for the rejection will not be considered a new ground of rejection if the prior art

relied upon, and the rationale supporting the rejection, would be the same under either status.



        The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that form the

basis for the rejections under this section made in this Office action:

        A person shall be entitled to a patent unless -
        (e) the invention was described in (1) an application for patent, published under section
        122(b), by another filed in the United States before the invention by the applicant for patent or
        (2) a patent granted on an application for patent by another filed in the United States before
        the invention by the applicant for patent, except that an international application filed under
        the treaty defined in section 351 (a) shall have the effects for purposes of this subsection of an
        application filed in the United States only if the international application designated the United
        States and was published under Article 21 (2) of such treaty in the English language.




6.      Claims 44-58 are rejected under 35 U.S.C. 102(e) as being anticipated by Woods (US

2013/0179925A1 ), hereinafter Woods.

            Referring to claims 44, 49 and 54, Woods discloses a method of navigating a user

interface, comprising:

        presenting, on a graphical user interface, a graphical representation of a first item of
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 information of a plurality of items of information (See para. [0077]-para. [0079] and Figure 5

 displaying an media asset from a list of media assets that matches a profile associated

 with an user);

        detecting a gesture associated with the graphical representation of the first item of

 information, the gesture corresponding to a positive preference indication associated with the

first item of information (See para. [0099] and para. [0118], para. [0120], receiving a user

gesture [e.g. a swipe along a right direction] associated with the displayed media

 content/asset that is of an audio type, the gesture represents a positive preference [e.g.

 turns on video type] associated with the displayed audio content/asset);

       storing the positive preference indication associated with the first item of information in

 response to detecting the gesture (See para. [0033] and para, [0076], monitoring and

 storing the media content/asset the user has accessed, the user profile includes a

 viewing history associated with the user which includes a list of the media assets the

 user previously accessed for a predetermined length of time, for example, the user

profile stores user interests/preferences [e.g. user prefers video type] regarding on the

 displayed media content/asset that is of the audio type);

        automatically presenting, on the graphical user interface, a graphical representation of

a second item of information of the plurality of items of information in response to detecting the

gesture (See para. [0118] and para. [0120], presenting related content of a second type

[e.g. video] in response to the received user gesture [e.g. swipe along a right direction]);

and

        automatically removing the graphical representation of the first item of information from

the graphical user interface in response to detecting the gesture (See para. [0118] -para.

[0120], removing the media content/asset of the first type [e.g. audio] which is
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previously displayed and replacing the removed content of with related media

 content/asset of the second type [e.g. video]).



       As to claims 45, 53 and 58, Woods discloses wherein presenting the graphical

 representation of the first item of information of the plurality of items of information comprises

presenting user interface controls such that all user interface controls configured to cause

another item of information of the plurality of items of information to be displayed are

associated with performing an action on the first item of information (See para. [0097]- para.

[0099] and para. [0118]-para. [0120], presenting interface controls such as navigation

 keys [e.g. up, down, left, right] and swipe gestures [e.g. swipe along a left, right, up and

 down direction] on the displayed media content/asset to cause another media

 content/asset to be displayed).



       As to claims 46, 50 and 55, Woods discloses wherein detecting the gesture associated

with the graphical representation of the first item of information comprises detecting a swiping

direction associated with the gesture (See para. [0099] and para. [0118], receiving a user

gesture [e.g. a swipe along a left direction] associated with the displayed media

 content/asset that is of a video type, the gesture represents user prefers an audio type

 of media content/asset).

       As to claims 47, 51 and 56, Woods discloses presenting the graphical representation of

the first item of information of the plurality of items of information comprises presenting the first

 item of information as a first card of a stack of cards (See para. [0075], compiling a list of the

 identified content that shares characteristics with the displayed media asset, the

 displayed media asset is currently available at the top of the list);
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7.     Claims 48, 52 and 57 are rejected under 35 U.S.C. 102(e) as being unpatentable by

Woods (US 2013/0179925 A1) and in view of Kulus (US 2011/0087974 A1).



       As to claims 48, 52, and 57, Woods discloses the first item of information comprises a

 first user profile (See para. [0044], the first media content/asset that is displayed

 comprises characteristics of a matched profile of a user); the second item of information

 comprises a second user (See para. [0044] and para. [0076], the second media

 content/asset that is displayed comprises characteristics of match profile of another

 user, such as a friend of the user).

       Woods does not explicitly disclose the positive preference indication associated with the

 first item of information comprises an expression of approval.

       Kulas discloses the positive preference indication associated with the first item of

 information comprises an expression of approval (See para. [0027], the user swipes right or

 up to indicate approval of an item).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the sensitive touch-screen movement detection module of

 Woods 's system to comprise: the gesture corresponding to a positive preference indication

 associated with the first item of information, as taught by Kulas, in order to obtain user's state

 of mind, concurrently or in association with an operation of a user control in a more reliable

 way (See Kulas, para. [0002] and para. [0004]).




                                            Conclusion
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8.      THIS ACTION IS MADE FINAL. Applicant is reminded of the extension of time policy as

set forth in 37 CFR 1.136(a).

        A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within TWO

MONTHS of the mailing date of this final action and the advisory action is not mailed until after

the end of the THREE-MONTH shortened statutory period, then the shortened statutory period

will expire on the date the advisory action is mailed, and any extension fee pursuant to 37

CFR 1.136(a) will be calculated from the mailing date of the advisory action. In no event,

however, will the statutory period for reply expire later than SIX MONTHS from the date of this

final action.




9.      The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.




                Any inquiry concerning this communication or earlier communications from

the examiner should be directed to YUK TING CHOI whose telephone number is

(571 )270-1637. The examiner can normally be reached on 8:30 AM - 5:30 PM EST.

        Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an

interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.
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       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on (571) 272-4136. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/

Primary Examiner, Art Unit 2153
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                                                 Application/Control No.               Applicant( s )/Patent Under
                                                                                       Reexamination
          Index of Claims                        15016662                              RAD ET AL.

                                                 Examiner                              Art Unit

                                                 YUK TING CHOI                         2164


              Rejected                        Cancelled                N    Non-Elected             A          Appeal

  =           Allowed                         Restricted                    Interference            0         Objected

 D    Claims renumbered in the same order as presented by applicant                D   CPA        D T.D.        D    R.1.47

          CLAIM                                                             DATE
      Final        Original   07/19/2016 11/14/2016 04/25/2017 09/22/2017
                      1            -         -          -          -
                      2            -         -          -          -
                      3            -         -          -          -
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                      6            -         -          -          -
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                     34            -         -          -          -
                     35            -         -          -          -
                     36            -         -          -          -
U.S. Patent and Trademark Office                                                                        Part of Paper No.: 20170922
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                                                  Application/Control No.              Applicant( s )/Patent Under
                                                                                       Reexamination
          Index of Claims                         15016662                             RAD ET AL.

                                                  Examiner                             Art Unit

                                                  YUK TING CHOI                        2164


              Rejected                        Cancelled                 N   Non-Elected             A          Appeal

  -           Allowed                         Restricted                    Interference            0         Objected

 D    Claims renumbered in the same order as presented by applicant                D   CPA        D T.D.        D    R.1.47

          CLAIM                                                             DATE
      Final        Original   07/19/2016 11/14/2016 04/25/2017 09/22/2017
                     37            -         -          -          -
                     38            -         -          -          -
                     39            -         -          -          -
                     40            -         -          -          -
                     41            -         -          -          -
                     42            -         -          -          -
                     43            -         -          -          -
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                     58            ,/        ,/         ,/         ,/




U.S. Patent and Trademark Office                                                                        Part of Paper No.: 20170922
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ATTORNEY'S DOCKET                                                    PATENT APPLICATION
083523.0117                                                               USSN 15/016,662
                                              1of16


             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




First Named Inventor:            Sean Rad
Filed:                           February 5, 2016
Serial Number:                   15/016,662
Group Art Unit:                  2153
Confirmation No.                 9869
Examiner:                        Yuk Ting Choi
Title:                          Matching Process System and Method



Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:
                            Response Pursuant to 37 C.F.R. § 1.111
           In response to the Non-Final Office Action dated May 22, 2017 (the "Office Action"),
Applicant respectfully requests the Examiner to reconsider the rejection of the claims in view
of the following remarks.




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ATTORNEY'S DOCKET                                                      PATENT APPLICATION
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In the Claim
           Claims 1-43 (Canceled)


           44.    (Previously Presented) A method of navigating a user interface, comprising:
           presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           storing the positive preference indication associated with the first item of information
in response to detecting the gesture;
           automatically presenting, on the graphical user interface, a graphical representation of
a second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically removing the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           45.    (Previously Presented)    The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.


           46.    (Previously Presented)     The method of Claim 44, wherein detecting the
gesture associated with the graphical representation of the first item of information comprises
detecting a swiping direction associated with the gesture.




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           47.     (Previously Presented)     The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting the first item of information as a first card of a stack of
cards.


           48.     (Previously Presented) The method of Claim 44, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           49.     (Previously Presented) A system, comprising:
           an interface operable to:
                   present a graphical representation of a first item of information of a plurality
of items of information;
           a processor coupled to the interface and operable to:
                   detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
                   store the positive preference indication associated with the first item of
information in response to detecting the gesture; and
           the interface further operable to:
                   automatically present a graphical representation of a second item of
information of the plurality of items of information in response to the processor detecting the
gesture; and
                   automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


           50.     (Previously Presented) The system of Claim 49, wherein the processor is
further operable to detect a swiping direction associated with the gesture.


           51.     (Previously Presented)       The system of Claim 49, wherein the interface is
further operable to present the first item of information as a first card of a stack of cards.


           52.     (Previously Presented) The system of Claim 49, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           53.   (Previously Presented)   The system of Claim 49, wherein the interface is
further operable to present user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.




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ATTORNEY'S DOCKET                                                          PATENT APPLICATION
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           54.     (Previously Presented) At least one non-transitory computer-readable medium
comprising a plurality of instructions that, when executed by at least one processor, are
configured to:
           present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           store the positive preference indication associated with the first item of information in
response to detecting the gesture;
           automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically remove the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           55.     (Previously Presented)     The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to detect a
swiping direction associated with the gesture.


           56.     (Previously Presented)     The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are configured to present the first
item of information as a first card of a stack of cards.


           57.     (Previously Presented)     The at least one non-transitory computer-readable
medium of Claim 54, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           58.   (Previously Presented)   The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present
user interface controls such that all user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.




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                                            REMARKS
           This Application has been reviewed carefully in light of the Office Action. Applicant
appreciates the Examiner's consideration of the Application. At the time of the Office Action,
Claims 44-58 were pending. The Office Action rejects these claims. Applicant respectfully
submits that all pending claims are allowable without amendment, and requests
reconsideration and favorable action in this case in view of the following remarks.


Request for Examiner Interview
           If the Examiner intends to issue a new Office Action in response to this submission, in
the interest of compact and efficient prosecution, Applicant respectfully requests that the
Examiner contact Applicant's attorney prior to issuing the new Office Action to discuss a
possible resolution to any outstanding issues.


Claim Rejections under 35 U.S.C. § 101
           The Office Action rejects Claims 44-58 under 35 U.S.C. § 101 as allegedly being
directed to non-statutory subject matter. Applicant respectfully disagrees, and discusses
independent Claim 44 as an example.


           A.     The Claims Recite Patent-Eligible Subject Matter
           In Applicant's Response filed with Request for Continued Examination filed April 20,
2017 (the "Previous Response"), Applicant explained that, contrary to the Office Action's
assertions, Claim 44 is not directed to the abstract idea of "identifying related information
and returning a record in response to user's response." See Previous Response at 8-13.
Rather, an appropriate analysis of the claims (i.e., one that does not "oversimplify[] the
claims by looking at them generally and failing to account for the specific requirements of the
claims") demonstrates that Claim 44 is directed to a particular solution to navigating a user
interface. See McRo, Inc. v. Bandai Namco Games Am. Inc., No. 2015-1080, 2016 WL
4896481, at *7. Applicant further explained that even if the claims are directed to such an
abstract idea (which they are not), the claims recite an inventive concept, and highlighted
deficiencies in the Office Action's reasoning at step 2 (e.g., failing to articulate why the
individual elements of the claims do not give rise to an inventive concept or adequately


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address the inventive concept contained in the combination of claim elements other than
making precisely the same conclusory statements). Id. at 13-17. For analogous reasons to
those explained in the Previous Response, the claims are patent-eligible. This is true despite
the Office Action's reformulation of the alleged abstract idea and misplaced reliance on a
new case and portions of Applicant's specification.


                  1.      The claims are not directed to an abstract idea
           With respect to the Office Action's analysis at step 1, Applicant's note that the Office
Action relies on a different statement of the alleged abstract idea, now contending that the
claims are directed to "identifying related information and returning a record after receiving a
preference response from a user." Office Action at 5. Even as rephrased, the Office Action's
analysis suffers from the same deficiencies described in the Previous Response. At a
minimum, the Office Action oversimplifies the claims and fails to account for their specific
requirements. Claim 44 recites a method of navigating a user interface, including:
              •   presenting, on a graphical user interface, a graphical representation of a first
                  item of information of a plurality of items of information;
              •   detecting a gesture associated with the graphical representation of the
                  first item of information, the gesture corresponding to a positive
                  preference indication associated with the first item of information;
              •   storing the positive preference indication associated with the first item of
                  information in response to detecting the gesture;
              •   automatically presenting, on the graphical user interface, a graphical
                  representation of a second item of information of the plurality of items of
                  information in response to detecting the gesture; and
              •   automatically removing the graphical representation of the first item of
                  information from the graphical user interface in response to detecting the
                  gesture.
As just one example, the Office Action's reformulation of the alleged abstract idea still fails
to account for "detecting a gesture" and that the remaining steps are performed "in response
to detecting the gesture." This is the same kind of oversimplification that the Federal Circuit
has cautioned against. See McRO, 837 F.3d at 1313 ("We have previously cautioned that

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courts "must be careful to avoid oversimplifying the claims" by looking at them generally
and failing to account for the specific requirements of the claims.").
           In response to Applicant's previous arguments, the Office Action asserts that the
burden of showing the claims are directed to an abstract idea can be met "by comparing the
recited concept to concepts courts have found to be abstract." Office Action at 3. Even if true,
the Office Action has not met this burden. The Office Action alleges that "the [E]xaminer
met this burden by identifying that the recited steps of the claim describe 'detecting a gesture
corresponding to a positive indication associated with the first item of information ... ' and
explaining that this is an abstract idea that is not meaningfully different than the abstract
ideas drawn to abstract concepts identified in Int. Ventures v. Erie Indemnity Co. Therefore
the Examiner's burden has been met and a proper prima facie case has been made." Office
Action at 3. But this is incorrect.
           The US PTO notes that "[w ]hen the examiner has determined the claim recites an
abstract idea, the rejection should identify the abstract idea as it is recited (e.g., set forth or
described) in the claim, and explain why it corresponds to a concept that the courts have
identified as an abstract idea." USPTO May 4, 2016 Memorandum: Formulating a Subject
Matter Eligibility Rejection and Evaluating the Applicant's Response to a Subject Matter
Eligibility Rejection, at 2 ("Memorandum"). The Office Action here does not provide the
requisite explanation. The Office Action relies for the first time on Intellectual Ventures v.
Erie Indemnity Co., 850 F.3d 1315 (Fed. Cir. 2017), as a purported example of similar claims
that a court has found directed to an abstract idea. The Office Action, however, provides no
analysis or explanation supporting any alleged similarities between the claims and concepts at
issue here and those in Intellectual Ventures. See Office Action at 5. Rather, the Office
Action relies on a single conclusory statement that the alleged abstract idea is "similar to
other concepts that have identified as abstract by the courts, such as remotely accessing and
retrieving user-specified information in Int. Ventures v. Erie Indemnity Co." Office Action at
5.
           When citing to a decision in a § 101 rejection, the USPTO has cautioned that
"Examiners should ... ensure that the rejection is reasonably tied to the facts of the case and
... avoid relying upon language taken out of context." Memorandum at 3. That is not the
case here, as Claim 44 is distinguishable from those in Intellectual Ventures. It appears as


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though the Office Action relies on the court's discussion of the '002 Patent in Intellectual
Ventures, which related to "systems and methods for accessing a user's remotely stored data
and files." Id at 1329. The representative claim in that case recited:
                   40. A system for storing and accessing user specific resources and
           information, the system comprising:
                   a network for accessing the user specific resources and information
           stored in a network server;
                   and a local device communicating with the network and having a local
           memory and a mobile interface, wherein the local memory also includes user
           specific resources and information, and the mobile interface includes pointers
           corresponding to the user specific resources and information that are stored
           either on the local device or the network server, wherein the pointers provide
           links to access the corresponding user specific resources and information.
Id. at 1330. "In other words, the claimed invention is directed to a "mobile interface" on a
user's device that is capable of accessing the user's data stored anywhere, whether on the
user's device or elsewhere on a remote network server." Id. This is not analogous to Claim
44, which relates to a particular technological improvement in the area of navigating user
interfaces. At best, the claims both 'recite an interface. That commonality alone, however,
does not mean that Claim 44 is directed to similar concepts as those found patent ineligible in
Intellectual Ventures. As explained in the Previous Response, the claims are more
appropriately compared to those in Trading Techs. Int'/, Inc. v. CQG, Inc., No 2016-1616,
2017 WL 192716, at *1-2 (Fed. Cir. Jan. 18, 2017).


                  2.     The claims recite an inventive concept
           As explained in the Previous Response, Claim 44 recites an inventive concept. In
support of its contrary position, the Office Action's analysis at step 2 relies on portions of
Applicant's specification as allegedly supporting its contention that the recited steps "perform
only basic generic computer/server data retrieval functions." Office Action at 2-3. The cited
portions of Applicant's specification, however, do not support that conclusion. The cited
portions state that:

           [0004] Networking architectures have grown increasingly complex in
           communications environments. In recent years, a series of protocols and
           configurations have been developed in order to accommodate a diverse
           group of end users having various networking needs. Many of these
           architectures have gained significant notoriety because they can offer the

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           benefits of automation, convenience, management, and enhanced consumer
           selections.

           [0005] Certain network protocols may be used in order to allow an end
           user to conduct an on-line search of candidates to fill a given vacancy.
           These protocols may relate to job searches, person finding services, real
           estate searches, or on-line dating. While some believe that on-line dating is
           simply a matter of matching supply and demand, there is statistical and
           empirical evidence to suggest that successful on-line dating entails far more.

           [0006] For example, people having similar and/or compatible character traits
           and values should be matched together. However, effectively linking two
           participants together can prove to be a challenging endeavor. Coordinating a
           relationship bet\veen two like-minded individuals can be a significant chore,
           as there are a number of obstacles and barriers that must be overcome.

Published Specification at ~~ 0004-0006 (emphasis added). The Office Action alleges that
"[t]hese network protocols/function steps are well-understood, routine and convention[al]
activity to match people/object having similar traits and values." Office Action at 3. None of
the description of "network protocols" or "protocols and configurations" in the cited portion,
however, describe navigating a user interface, let alone suggest that the particular method of
navigating a user interface recited in Claim 44 is generic or well-understood, routine, or
conventional activity.


                  3.     Lack of preemption evidences that the claims are directed to patent-
                         eligible subject matter
           Finally, the Federal Circuit has explained that "[t]he concern underlying the
exceptions to§ 101 is ... preemption." McRO, 837 F.3d at 1315. Even if preemption is not a
"standalone test for patent eligibility" as the Office Action contends, here it is yet another
factor that demonstrates the eligibility of Claim 44. Even assuming that Claim 44 may
involve "identifying related information and returning a record after receiving a preference
response from a user" at a high level of generality, this does not render Claim 44 ineligible
because it is not directed to "identifying related information and returning a record after
receiving a preference response from a user" in the abstract. See Alice Corp. Pty. v. CLS Bank
Int'!, 134 S. Ct. 2347, 2354 (2014) ("[a]t some level, all inventions embody, use, reflect, rest
upon, or apply ... abstract ideas. Thus an invention is not rendered ineligible for patent
simply because it involves an abstract concept"). Said another way, the specific form of

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navigating a user interface is not a "long prevalent" or "well-understood" technique that one
of skill in the art would recognize. Thus, Claim 44 does not raise the concerns regarding pre-
emption that the Supreme Court articulated in Alice.


           B.     Conclusion
           For at least these reasons, Claim 44 is directed to patent-eligible subject matter, as are
Claims 45-48 that depend therefrom. For at least certain analogous reasons, Claims 49 and 54
are directed to patent-eligible subject matter, as are their dependent claims. Applicant
respectfully requests reconsideration and allowance.


Claim Rejections Under 35 U.S.C. § 102
           The Office Action rejects Claims 44-47, 49-51, 53-56 and 58 under 35 U.S.C. §
102(e) as allegedly being anticipated by U.S. Patent Publication No. 2013/0179925 Al to
Woods et al. ("Woods"). The Office Action also rejects Claims 48, 52, and 57 under 35
U.S.C. § 102(e) as being unpatentable over Woods in view of U.S. Patent Publication No.
2011/0087974 Al to Kulus ("Kulus"). Applicant respectfully traverses these rejections and
discusses independent Claim 44 as an example.
           At a minimum, Woods does not disclose "detecting a gesture associated with the
graphical representation of the first item of information, the gesture corresponding to a
positive preference indication associated with the first item of information," as recited in
Claim 44. The Office Action alleges that Woods discloses "receiving a user gesture [e.g. a
swipe along a right direction] associated with the displayed media content/asset that is of an
audio type, the gesture represents a positive preference [e.g. turns on video type] associated
with the displayed audio content/asset." Office Action at 7. Applicant respectfully disagrees.
           The Office Action equates the claimed "graphical representation of the first item of
information" to "representations of the list of content related to first media asset 510 that
matches a profile associated with the user" and, in particular, related content of an "audio
type." Office Action at 6-7 (citing Woods at 'if'il 0079, 0120). As allegedly disclosing the
claimed "detecting a gesture associated with the graphical representation of the first item of
information," the Office Action relies on disclosure in Woods that "multiple types of related
content may be displayed at a time" and that "[i]n response to receiving a user gesture (e.g., a


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swipe along a right direction), control circuitry 304 of second screen device 1120 may slide
the related content of the second type (e.g., audio) off display region 1150 and slide back into
display region 1150 related content of the first type (e.g., video). Id. at~~ 0118, 0120.
           Even assuming that the "list of content related to first media asset 51 O" and the "user
gesture" described in Woods could be equated to the claimed "detecting a gesture associated
with the graphical representation of the first item," the Office Action's assertion that "the
gesture represents a positive preference" is conclusory and unsupported. Woods does not
disclose, teach, or suggest that the user gesture corresponds "to a positive preference
indication associated with the first item of information." Rather, the user gestures in Wood
are merely used for "sliding the related content" currently being displayed off the display
region so that related content of another type can be displayed. See id. at~~ 0118, 0120. Even
assuming, for the sake of argument only, that a gesture resulting in changing the displayed
content from audio to video could be equated to a positive preference for video type as the
Office Action alleges, it would still fail to disclose "a positive preference indication
associated with the first item of information" presented on the graphical user interface
(which the Office Action equates to the related content of an audio type). See Office Action
at 7.
           At least because Woods fails to disclose "detecting a gesture associated with the
graphical representation of the first item of information, the gesture corresponding to a
positive preference indication associated with the first item of information," Woods also fails
to disclose "storing the positive preference indication associated with the first item of
information in response to detecting the gesture," as recited in Claim 44. Moreover, the cited
portions merely disclose that "[t]he media guidance application may, for example, monitor
the content the user accesses and/or other interactions the user may have with the guidance
application." Woods at ~ 0033. The general disclosure of monitoring accessed content or
other interactions the user may have does not disclose "storing the positive preference
indication associated with the first item of information in response to detecting the
gesture," as recited in Claim 44.
           Thus, Woods does not disclose every feature of Claim 44, and therefore does not
anticipate the claim. See M.P.E.P. § 2131 ("A claim is anticipated only if each and every
element as set forth in the claim is found, either expressly or inherently described, in a single


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prior art reference.") (citing Verdegaal Bros. v. Union Oil Co. of California, 814 F.2d 628,
631, 2 USPQ2d 1051, 1053 (Fed. Cir. 1987)). The Office Action does not allege that Ku/us
makes up for the above-described deficiencies of Woods.
           For at least these reasons, Claim 44 is allowable, as are Claims 45-48 that depend
therefrom. For at least certain analogous reasons, Claims 49 and 54 are allowable, together
with their dependent claims. Applicant respectfully requests reconsideration and allowance.


Request for Evidentiary Support
           Should a rejection based on any of the above asserted rejections be maintained,
Applicant respectfully requests appropriate evidentiary support. For example, if the Examiner
is relying on alleged "common knowledge," alleged "well known" principles, "Official
Notice," or other information within the Examiner's personal knowledge, Applicant
respectfully requests that the Examiner cite a reference as documentary evidence in support
of this position or provide an affidavit. See M.P.E.P. § 2144.03 and 37 C.F.R. § l.104(d)(2).


No Waiver
           Applicant's arguments and amendments are made without prejudice or disclaimer. By
not responding to additional statements made by the Examiner, Applicant does not acquiesce
to the additional statements. The distinctions between the applied references and the claims
are provided as examples only and are sufficient to overcome the rejections. Applicant
reserves the right to discuss additional or other distinctions in a later response or on appeal, if
appropriate.




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                                           Conclusion
           Applicant has made an earnest attempt to place this case in condition for allowance.
For at least the above reasons, Applicant respectfully requests full allowance of all pending
claims.
           If a telephone conference would advance prosecution of this Application, the
Examiner may contact Clarke W. Stavinoha, Attorney for Applicant, at 214.953.6484. The
Examiner may also communicate with Clarke Stavinoha concerning this Application by
electronic mail at clarke.stavinoha@bakerbotts.com.
           Although Applicant believes no fees are due, the Commissioner is authorized to
charge any necessary fees and credit any overpayments to Deposit Account No. 02-0384 of
Baker Botts L.L. P.


                                                Respectfully submitted,

                                                BAKER BOTTS L.L.P.
                                                Attorneys for Applicant




                                                Clarke W. Stavinoha
                                                Reg. No. 71,152
                                                Telephone: 214.953.6484


Date:      Awj"'H ll, lo 17
Correspondence Address:

Customer No:             05073




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                                    Electronic Acknowledgement Receipt

                       EFSID:                       30149739


                 Application Number:                15016662


          International Application Number:

                Confirmation Number:                9869




                  Title of Invention:               Matching Process System And Method




         First Named Inventor/Applicant Name:       Sean Rad


                  Customer Number:                  5073


                         Filer:                    Clarke W. Stavinoha/Laurie Scott


                 Filer Authorized By:              Clarke W. Stavinoha


              Attorney Docket Number:               083523.0117


                    Receipt Date:                   22-AUG-2017


                     Filing Date:                   05-FEB-2016


                     Time Stamp:                    15:18:05


                  Application Type:                 Utility under 35 USC 111 (a)


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                                    Document Description                                 Start                End


                      Amendment/Req. Reconsideration-After Non-Final Reject                1                   1



                                             Claims                                        2                   7



                      Applicant Arguments/Remarks Made in an Amendment                     8                   16


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New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
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                                                                                                                                             Approved for use through 1/31/2014. OMB 0651-0032
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      15/016,662                      02/05/2016             D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                     RATE($)                            FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x   $          =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x   $          =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                           TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)              (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     08/22/2017              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
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        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE                               0
                                    (Column 1)                        (Column 2)              (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
                                   AFTER                         PREVIOUSLY
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 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   DARLENE BROWN
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information is required by 37 CFR 1.16. The information is required to obtain or retain a benefit by the public which is to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       15/016,662               02/05/2016                  Sean Rad              083523.0117                         9869

       5073             7590             05/22/2017
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 700
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   05/22/2017                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                        Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 85 of 181
                                                                                    Application No.                               Applicant(s)
                                                                                    15/016,662                                    RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2153
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE .J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 412012017.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)0 This action is FINAL.                 2b)~ This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 44-58 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 44-58 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PF'Hfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2)   0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)                        4)   0 Other: _ _ .
         Paper No(s)/Mail Date _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20170424
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                                      DETAILED ACTION

                                    Response to Amendment

1.     This office action is in response to applicant's communication filed on 04/20/2017 in

response to PTO Office Action mailed 11/21/2016. The Applicant's remarks and amendments

to the claims and/or the specification were considered with the results as follows.

2.     In response to the last Office Action, no claims have been amended, added or canceled.

As a result, claims 44-58 are pending in this office action.




                                    Response to Arguments

3.      Applicant's arguments with respect to 35 USC 101 rejections have been fully considered

but are not persuasive and details are as follows:

       Applicant's argument with respect to 101 rejection states as "The claims are patent-

eligible because they are not directed to an abstract idea, but rather a specific solution for

"navigating a user interface" by responding in multiple distinct ways to a particularized "gesture"

that is associated with graphical representation and corresponds to a positive preference

indication ... The claims are patent-eligible because they contain inventive concepts when

conserved as an ordered combination with other claim elements ... Claim 44 does not seek to tie

up any abstract idea such that others cannot practice it".

       In response to Applicant's argument, the Examiner disagrees because detecting the

claimed "preference indication" is just receiving a preference response from a user and the

recited method does not include additional elements beyond the abstract idea of remotely

accessing and retrieving user specified information identify related information that have

identified as abstract by the courts [Int. Ventures v. Erie Indemnity Co.]. Also in view of

Applicant's specification (See PGPUB, para. [0004]-para. [0006]), the recited steps or acts e.g.
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detecting, storing, presenting and removing perform only basic generic computer/server data

retrieval functions, which are common to on line-search service networking systems such as job

search services, person finding services, real estate services or online-dating services. These

network protocols/ function steps are well-understood, routine and convention activity to match

people/object having similar traits and values. When viewed either as individual limitations or as

an ordered combination, the claim as a whole does not add significantly more to the abstract

idea of remotely accessing and retrieving user-specified information.

        In addition, in order to establish that a claim is directed to an abstract idea, the Examiner

provides a reasoned rationale that identifies the concept recited in the claim and explains why it

is considered an abstract idea. This can be done by comparing the recited concept to concepts

courts have found to be abstract ideas. In this hypothetical, the examiner met this burden by

identifying that the recited steps of the claim describe "detecting a gesture corresponding to a

positive indication associated with the first item of information ... " and explaining that this is an

abstract idea that is not meaningfully different than the abstract ideas drawn to abstract

concepts identified in Int. Ventures v. Erie Indemnity Co. Therefore, the Examiner's burden has

been met and a proper prima facie case has been made.

        At last, preemption is not a standalone test for patent eligibility. Applicant's attempt to

show alternative uses of the abstract idea outside the scope of the claims does not change the

conclusion that the claims are directed to patent ineligible subject matter. Similarly, Applicant's

attempt to show that the recited abstract idea is a narrow and specific one is not persuasive. A

specific abstract idea is still an abstract idea and is not eligible for patent protection without

signification more recited in the claim. The questions of preemption are inherent in the two-part

framework from Alice Corp and Mayo and are resolved by using two-part framework to

distinguish between preemptive claims, and those that integrate the building blocks into
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something more ... the latter pose no comparable risk of preemption, and therefore remain

eligible." The absence of complete preemption does not guarantee the claim is eligible.

Therefore "[w]here a patent's claims are deemed only to disclose patent ineligible subject matter

under the Mayo framework, as they are in this case, preemption concerns are fully addressed

and made moot". Ariosa Diagnostics, INC, v. Sequenom, Inc. 788 F.3d 1371, 1379

(Fed.Cir.2015). See also OIP Tech., Inc. v, Amazon.com, Inc. 788 F.3d 1359, 1362-63 (Fed Cir.

2015).

         Hence, the 35 USC 101 rejections are maintained.



         Applicant's argument with respect to 35 USC 103 rejections for claims 44-58 have been

fully considered but are moot in view of the new ground(s) of rejection.

         Applicant argues "The claimed technology was invented prior to August 6, 2012".

         In response to Applicant's argument, after reviewing Applicant's Affidavit's Exhibit C

document which is filed on 04/20/2017, the Examiner believes Applicant has shown enough

evidence to indicate that the claimed invention was invented prior to August 6, 2012. To

advance prosecution, the Examiner has incorporated a newly cited reference to teach the

claimed invention.



                                 Claim Rejections - 35 USC § 101

4.       35 U.S.C. 101 reads as follows:

Whoever invents or discovers any new and useful process, machine, manufacture, or

composition of matter, or any new and useful improvement thereof, may obtain a patent

therefor, subject to the conditions and requirements of this title.
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       Claims 44-58 are rejected under 35 U.S.C. 101 because the claimed invention is

directed to non-statutory subject matter.



       In claim 44, a "method" is being recited. The claim is directed to a method includes a

series of steps or acts for presenting a graphical representation of a first item of information;

detecting a gesture associated with the graphical representation of the first item of information,

storing the positive preference indication associated with the first item of information in response

to detect the gesture and automatically presenting a graphical representation of a second item

of information in response to detecting the gesture. In other words, the claim recites identifying

related information and returning a record after receiving a preference response from a user.     It

is similar to other concepts that have identified as abstract by the courts, such as remotely

accessing and retrieving user-specified information in Int. Ventures v. Erie Indemnity Co. The

additional step automatically removing the graphical representation of the first item of

information in response to detect the gestures the abstract idea, but do not make it less

abstract. The claim does not include additional elements beyond the abstract idea of identify

related information and returning a record. The recited steps or acts e.g. detecting, storing,

presenting and removing perform only basic generic computer/server data retrieval functions,

which are common to all content service. When viewed either as individual limitations or as an

ordered combination, the claim as a whole does not add significantly more to the abstract idea

of data retrieval of a record. Therefore, claim 44 is not patent eligible. Claims 45-48 do not

have additional elements add significantly more to the abstract idea of data retrieval of a record.

Thus, claims 44-48 are not patent eligible. Claims 49 and 54 recited similar features as recited

in claims 44, therefore claims 50-53 and 55-58 also do not have additional elements add
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significantly more to the abstract idea of data retrieval of a record, and they are not patent

eligible.


                                    Claim Rejections - 35 USC § 102

5.          In the event the determination of the status of the application as subject to AIA 35 U.S.C.

102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any correction of the

statutory basis for the rejection will not be considered a new ground of rejection if the prior art

relied upon, and the rationale supporting the rejection, would be the same under either status.



        The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that form the

basis for the rejections under this section made in this Office action:

        A person shall be entitled to a patent unless -
        (e) the invention was described in (1) an application for patent, published under section
        122(b), by another filed in the United States before the invention by the applicant for patent or
        (2) a patent granted on an application for patent by another filed in the United States before
        the invention by the applicant for patent, except that an international application filed under
        the treaty defined in section 351 (a) shall have the effects for purposes of this subsection of an
        application filed in the United States only if the international application designated the United
        States and was published under Article 21 (2) of such treaty in the English language.




6.      Claims 44-58 are rejected under 35 U.S.C. 102(e) as being anticipated by Woods (US

2013/0179925A1 ), hereinafter Woods.

            Referring to claims 44, 49 and 54, Woods discloses a method of navigating a user

interface, comprising:

        presenting, on a graphical user interface, a graphical representation of a first item of

 information of a plurality of items of information (See para. [0077]-para. [0079] and Figure 5

 displaying an media asset from a list of media assets that matches a profile associated

 with an user);
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        detecting a gesture associated with the graphical representation of the first item of

 information, the gesture corresponding to a positive preference indication associated with the

first item of information (See para. [0099] and para. [0118], para. [0120], receiving a user

gesture [e.g. a swipe along a right direction] associated with the displayed media

 content/asset that is of an audio type, the gesture represents a positive preference [e.g.

 turns on video type] associated with the displayed audio content/asset ) ;

       storing the positive preference indication associated with the first item of information in

 response to detecting the gesture (See para. [0033] and para, [0076], monitoring and

 storing the media content/asset the user has accessed, the user profile includes a

 viewing history associated with the user which includes a list of the media assets the

 user previously accessed for a predetermined length of time, for example, the user

profile stores user interests/preferences [e.g. user prefers video type] regarding on the

 displayed media content/asset that is of the audio type);

        automatically presenting, on the graphical user interface, a graphical representation of

a second item of information of the plurality of items of information in response to detecting the

gesture (See para. [0118] and para. [0120], presenting related content of a second type

[e.g. video] in response to the received user gesture [e.g. swipe along a right direction]);

and

        automatically removing the graphical representation of the first item of information from

the graphical user interface in response to detecting the gesture (See para. [0118] -para.

[0120], removing the media content/asset of the first type [e.g. audio] which is

previously displayed and replacing the removed content of with related media

 content/asset of the second type [e.g. video]).
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       As to claims 45, 53 and 58, Woods discloses wherein presenting the graphical

 representation of the first item of information of the plurality of items of information comprises

presenting user interface controls such that all user interface controls configured to cause

another item of information of the plurality of items of information to be displayed are

associated with performing an action on the first item of information (See para. [0097]- para.

[0099] and para. [0118]-para. [0120], presenting interface controls such as navigation

 keys [e.g. up, down, left, right] and swipe gestures [e.g. swipe along a left, right, up and

 down direction] on the displayed media content/asset to cause another media

 content/asset to be displayed).



       As to claims 46, 50 and 55, Woods discloses wherein detecting the gesture associated

with the graphical representation of the first item of information comprises detecting a swiping

direction associated with the gesture (See para. [0099] and para. [0118], receiving a user

gesture [e.g. a swipe along a left direction] associated with the displayed media

 content/asset that is of a video type, the gesture represents user prefers an audio type

 of media content/asset).

       As to claims 47, 51 and 56, Woods discloses presenting the graphical representation of

the first item of information of the plurality of items of information comprises presenting the first

 item of information as a first card of a stack of cards (See para. [0075], compiling a list of the

 identified content that shares characteristics with the displayed media asset, the

 displayed media asset is currently available at the top of the list);
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7.     Claims 48, 52 and 57 are rejected under 35 U.S.C. 102(e) as being unpatentable by

Woods (US 2013/0179925 A1) and in view of Kulus (US 2011/0087974 A1).



       As to claims 48, 52, and 57, Woods discloses the first item of information comprises a

 first user profile (See para. [0044], the first media content/asset that is displayed

 comprises characteristics of a matched profile of a user); the second item of information

 comprises a second user (See para. [0044] and para. [0076], the second media

 content/asset that is displayed comprises characteristics of match profile of another

 user, such as a friend of the user).

       Woods does not explicitly disclose the positive preference indication associated with the

 first item of information comprises an expression of approval.

       Kulas discloses the positive preference indication associated with the first item of

 information comprises an expression of approval (See para. [0027], the user swipes right or

 up to indicate approval of an item).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the sensitive touch-screen movement detection module of

 Woods 's system to comprise: the gesture corresponding to a positive preference indication

 associated with the first item of information, as taught by Kulas, in order to obtain user's state

 of mind, concurrently or in association with an operation of a user control in a more reliable

 way (See Kulas, para. [0002] and para. [0004]).
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8.     The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.



               Any inquiry concerning this communication or earlier communications from

the examiner should be directed to YUK TING CHOI whose telephone number is

(571 )270-1637. The examiner can normally be reached on 8:30 AM - 5:30 PM EST.

       Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an

interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on (571) 272-4136. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.
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       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/

Primary Examiner, Art Unit 2153
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      15/016,662                          RAD ET AL.
                 Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      YUK TING CHOI                       2153
                                                                          U.S. PATENT DOCUMENTS
                        Document Number                    Date
*                 Country Code-Number-Kind Code          MM-YYYY                               Name                  CPC Classification        US Classification

*        A      US-2011/0087974 A1                      04-2011           Kulas; Charles J.                            G06 F3/04812                715/760

*        B      US-2013/0179925 A 1                     07-2013           Woods; Thomas Steven                        H04N21 /42209                725/42

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                             Part of Paper No. 20170424
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                                        Application/Control No.                   Applicant( s)/Patent Under
                                                                                  Reexamination
           Search Notes                 15016662                                  RAD ET AL.

                                        Examiner                                  Art Unit

                                        YUK TING CHOI                             2164




                                               CPC-SEARCHED

                          Symbol                                              I         Date        I        Examiner
 H04L67/306 OR G06F17/30011 OR G06F17/3053                                    I      7/19/2016      I          YC

                                   CPC COMBINATION SETS - SEARCHED

                                     Symbol                                   I          Date       I        Examiner
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                                       US CLASSIFICATION SEARCHED

      Class           I                   Subclass                            I          Date      I     Examiner
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                                                  SEARCH NOTES

                                   Search Notes                                          Date                Examiner
 H04L67/306 OR G06F17/30011 OR G06F17/3053 and East Text Search,                     7/19/2016          YC
 see attached search history
 Google NPL Search                                                                   4/18/2017          YC
 East text search, see attached search history                                       4/25/2017          YC
 IDS Search and Assignee                                                             7/19/2016          YC
 Co unsuited Paul Rodriguez for 101 MQAS TC2100                                      4/25/2017          YC



                                          INTERFERENCE SEARCH

   US Class/                        US Subclass I CPC Group                              Date            Examiner
  CPC Symbol




                                                           /YUK TING CHOI/
                                                           Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                 Part of Paper No.: 20170424
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                                                 Application/Control No.            Applicant( s )/Patent Under
                                                                                    Reexamination
          Index of Claims                        15016662                           RAD ET AL.

                                                 Examiner                           Art Unit

                                                 YUK TING CHOI                      2164


              Rejected                        Cancelled           N        Non-Elected           A          Appeal

  =           Allowed                         Restricted                   Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant             D   CPA        D T.D.        D    R.1.47

          CLAIM                                                        DATE
      Final        Original   07/19/2016 11/14/2016 04/25/2017
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                                                  Application/Control No.            Applicant( s )/Patent Under
                                                                                     Reexamination
          Index of Claims                         15016662                           RAD ET AL.

                                                  Examiner                           Art Unit

                                                  YUK TING CHOI                      2164


              Rejected                        Cancelled            N        Non-Elected           A          Appeal

  -           Allowed                         Restricted                    Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant              D   CPA        D T.D.        D    R.1.47

          CLAIM                                                         DATE
      Final        Original   07/19/2016 11/14/2016 04/25/2017
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                    EAST Search History

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EAST Search History
                           Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 101 of 181
                                               ! (profile user match person) same                                                                I U8PAT;                                                                                                                   i 09:28
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                    812 14 ! (present$3 display$3 provid$3 load$3 I U&PGPUB; ! OR                                                                                               ! OFF              !2016/07/19!
                                ! retriev$3) near5 (next second plurality) I U8PAT;                                                                 !                           !                  !09:36                      !
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                                !person$3) same ( (approve approval deny I FPR8; EPO; !                                                                                         !                  !                           !
                                 i disapproval disapprove) near10 (button i JPO;                                                                    !                           !                   i                          !
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EAST Search History
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                    IL_____JL______JL_________________________________________________________________________________________Jl!_§~=I_g§_________JL_____________________J________________JL________________________:
                    18321! "13804045" and swiping                                                                              IU&PGPUB; ! OR                            ! OFF             !2016/07/19!
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                    I    I ! (favor$3) near10 list and (remov$3                                                                      I USPAT;                       !                        !                                     !10:40      !
                    I I        i delet$3) near20 (search) near5 result                                                               I USOCR;                       !                        !                                     \           !
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                    I       ! near20 result )                          I USOCR;                                                                                     !                        !                                     !             !
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              Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 105 of 181


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                                                                                                                 Approved for use through 1013112002. OMB 0651-0031
                                                                                            U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
             Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number.


 r                                     REQUEST                                                               Application Number                        151016,662

                                               FOR                                                           Filing Date                               0210512016

      CONTINUED EXAMINATION (RCE)                                                                            First Named Inventor                      Sean Rad

            TRANSMITTAL                                                                                      Art Unit                                  2153
                                    Address to:
                                   Mail Stop RCE                                                             Examiner Name                             Choi, Yuk Ting
                               Commissioner for Patents
                                   P.O. Box 1450                                                                                                       083523.0117
                                                                                                             Attorney Docket Number
                              Alexandria, VA 22313-1450                                                                                                9869




 This is a Request for Continued Examination (RCE) under 37 C.F.R. 1.114 of the above-identified application.
 Request for Continued Examination (RCE) practice under 37 CFR 1. 114 does not apply to any utility or plant application filed prior to
 June 8, 1995, or to any design application. See Instruction Sheet for RCEs (not to be submitted to the USPTO) on page 2.



 1.    lsubmission required under 37 C.F.R. § 1.1141
       a. Previously submitted
           D       Consider the amendment(s)/reply under 37 C.F.R. 1. 116 previously filed on
                          (Any unentered amendment(s) referred to above will be entered).
           ii. D   Consider the arguments in the Appeal Brief or Reply Brief previously filed on _ _ _ __
           iii. D O t h e r - - - - - - - - - - - - - - - - -
       b. [gj Enclosed
           i. [gj AmendmenUReply                          iii. D Information Disclosure Statement (IDS)
           ii. [gj Affidavit(s)/Declaration(s)            iv. D Other _ _ _ _ _ _ _ _ _ _ _ __
 2.    IMiscellaneousl
       a.   D Suspension of action on the above-identified application is requested under 37 CFR. 1.103(c) for a
                period of                            months.        (Period of suspension shall not exceed 3 months; Fee under 37 C.FR 1. 117(i) required)
       b.   D Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                ~


 3.    IFeesl The RCE fee under 37 C.F.R 1.17(e) is required by 37 C.F.R 1.114 when the RCE is filed.
       a. [gj The Director is hereby authorized to charge the following fees to:
                Deposit Account No. 02-0384 of Baker Botts L.L.P.
           i. [gj    $1200.00 RCE fee required under 37 C.F.R. 1.17(e)
           ii. D
           111. [gj  Other: $600.00 2 Month Extension of time
       b. [gj The Director is hereby authorized to charge any additional fees or credit any overpayments
               to: Deposit Account No.     02-0384 of Baker Botts L.L.P.
       c. D Payment by credit card (Form PT0-2038 enclosed)
               WARNING: Information on this form may become public. Credit card information should not
               be included on this form. Provide credit card information and authorization on PT0-2038.




                                             SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED

 Name          (Print I Type)                                                                         Registration No. (Attorney/Agent)                69093

 Signature                                                                                            Date         April 20, 2017

Burden Hour Statement:                     ate to take 0.2 hours to complete. Time will vary depending upon the needs of the individual case. Any
comments on the amount of time you are r     red to complete this form should be sent to the Chief Information Officer, U.S. Patent and Trademark Office,
Washington, DC 20231. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS SEND Fees and Completed Forms to the following
address: Assistant Commissioner for Patents, Box RCE, Washington, DC 20231.
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ATTORNEY'S DOCKET                                                    PATENT APPLICATION
083523.0117                                                               USSN 15/016,662
                                              1of19


             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




First Named Inventor:            Sean Rad
Filed:                          February 5, 2016
Serial Number:                   15/016,662
Group Art Unit:                 2153
Confirmation No.                9869
Examiner:                       Yuk Ting Choi
Title:                          Matching Process System and Method



Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:


                    Request filed with Request for Continued Examination

           In response to the Final Office Action dated November 21, 2016 (the "Office Action")
and Advisory Action dated March 21, 2017 (the "Advisory Action"), Applicant respectfully
requests the Examiner to reconsider the rejection of the claims in view of the following
remarks.




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ATTORNEY'S DOCKET                                                      PATENT APPLICATION
083523.0117                                                                 USSN 15/016,662
                                               2of19


In the Claim
           Claims 1-43 (Canceled)


           44.    (Previously Presented) A method of navigating a user interface, comprising:
           presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           storing the positive preference indication associated with the first item of information
in response to detecting the gesture;
           automatically presenting, on the graphical user interface, a graphical representation of
a second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically removing the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           45.    (Previously Presented)     The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.


           46.    (Previously Presented)     The method of Claim 44, wherein detecting the
gesture associated with the graphical representation of the first item of information comprises
detecting a swiping direction associated with the gesture.




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           47.    (Previously Presented)      The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting the first item of information as a first card of a stack of
cards.


           48.    (Previously Presented) The method of Claim 44, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           49.    (Previously Presented) A system, comprising:
           an interface operable to:
                  present a graphical representation of a first item of information of a plurality
of items of information;
           a processor coupled to the interface and operable to:
                   detect a gesture associated with the graphical representation of the first item of
information, the gesture conesponding to a positive preference indication associated with the
first item of information;
                  store the positive preference indication associated with the first item of
infonnation in response to detecting the gesture; and
           the interface further operable to:
                  automatically present a graphical representation of a second item of
information of the plurality of items of information in response to the processor detecting the
gesture; and
                  automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


           50.    (Previously Presented)        The system of Claim 49, wherein the processor is
further operable to detect a swiping direction associated with the gesture.


           51.    (Previously Presented)        The system of Claim 49, wherein the interface is
further operable to present the first item of information as a first card of a stack of cards.


           52.    (Previously Presented) The system of Claim 49, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           53.   (Previously Presented)   The system of Claim 49, wherein the interface is
further operable to present user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.




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           54.    (Previously Presented) At least one non-transitory computer-readable medium
comprising a plurality of instructions that, when executed by at least one processor, are
configured to:
           present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           store the positive preference indication associated with the first item of information in
response to detecting the gesture;
           automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically remove the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           55.    (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to detect a
swiping direction associated with the gesture.


           56.    (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are configured to present the first
item of information as a first card of a stack of cards.


           57.    (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.



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           58.   (Previously Presented)   The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present
user interface controls such that all user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.




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                                            REMARKS
           This Application has been reviewed carefully m light of the Office Action and
Advisory Action. Applicant appreciates the Examiner's consideration of the Application. At
the time of the Office Action, Claims 44-58 were pending and stand rejected.            Applicant
respectfully submits that all pending claims are allowable without amendment, and requests
reconsideration and favorable action in this case in view of the following remarks.


Request for Examiner Interview
           If the Examiner intends to issue a new Office Action in response to this submission, in
the interest of compact and efficient prosecution, Applicant respectfully requests that the
Examiner contact Applicant's attorney prior to issuing the new Office Action to discuss a
possible resolution to any outstanding issues.


Claim Rejections under 35 U.S.C. § 101
           The Office Action rejects Claims 44-58 under 35 U.S.C. § 101 as allegedly being
directed to non-statutory subject matter. In particular, the Office Action alleges that the
claims are directed to the abstract idea of "identifying related information and returning a
record in response to user's response." Office Action, p. 4. In addition, the Advisory Action
alleges that "[t]he recited steps or acts e.g. detecting, storing, presenting and removing
perform only basic generic computer/server data retrieval functions, which are common to all
content service. When viewed either as individual limitations or as an ordered combination,
the claim as a whole does not add significantly more to the abstract idea of data retrieval of a
record based on the user's response." Advisory Action, p. 2.
           This broad and sweeping characterization that the claims, however, fails to
acknowledge Federal Circuit precedent that "[i]n considering patent eligibility under § 101,
one must focus on the claims. This is because a claim may 'preempt' only that which the
claims encompass, not what is disclosed but left unclaimed." Dealertrack, Inc. v. Huber, 674
F.3d 1315, 1334 (Fed. Cir. 2012) (emphasis added).         Thus, Applicant respectfully disagrees
with the characterization of the claims in the Office Action and Advisory Action, and
traverses the rejection using independent Claim 44 as an example.
           Under the proper analysis, Applicants' claims are patent eligible because (A) the


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claims are not directed to an abstract idea; and (B) the claims, when considered as an ordered
combination with other elements of each claim, supply an inventive concept rendering the
claims patent eligible. In addition, because the Office Action and Advisory Action, among
other things, fail to substantively address the patent eligibility of the ordered combination of
elements-as discussed further in Section (B)-they fail to establish a prima facie case of
patent ineligibility. As a result, Applicant requests withdrawal of the rejection of the claims
based on Section 101.


           (A) The claims are patent-eligible because they are not directed to an abstract
           idea, but rather a specific solution for "navigating a user interface" by
           responding in multiple distinct ways to a particularized "gesture" that is
           "associated with [a] graphical representation" and corresponds to "a positive
           preference indication"

           The Office Action's analysis is inconsistent with the Supreme Court's analysis in
Alice Corp. v. CLS Bank Int'l, 134 S. Ct. 2347, 2354 (2014), and is legally incorrect. Contrary
to the Examiner's characterizations, only those claims that "would risk disproportionately
tying up the use of the underlying ideas" are patent ineligible. Id. at 2354-55 (emphasis
added). And those that "pose no comparable risk of pre-emption . . . remain eligible for the
monopoly granted under our patent laws." Id. at 2355 (emphasis added). The Office Action
alleges that Claim 44 is directed to the abstract idea of "identifying related information and
returning a record in response to user's response." Office Action, p. 4.   As discussed above,
however, the Office Action's articulation of the abstract idea directly contradicts Federal
Circuit precedent that "[i]n considering patent eligibility under § 101, one must focus on the
claims." Dealertrack, Inc., 674 F.3d at 1334 (emphasis added).         Indeed, focusing on the
claim language, as the Federal Circuit counsels, confirms that they are directed to a particular
solution to navigating a user interface. For example, the claim language recites a detecting
and responding to a "gesture" that must not only be "associated with the graphical
representation of the first item of information" but must also "correspond[] to a positive
preference indication associated with the first item of information." · In addition, the claim
language requires performing several separate and distinct actions related to the gesture
including "detecting [the] gesture," "storing the positive preference indication . . . in
response to detecting the gesture," "automatically presenting . . . a graphical representation

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       in response to detecting the gesture," and "automatically removing the graphical
representation ... in response to detecting the gesture." The specification also explains, for
example:
                  In some embodiments, matching server 20 creates a match
                  between two users 14 after both users 14 have expressed a
                  preference for each other's profiles using like button 86 or the
                  swiping gesture associated with like button 86. When matching
                  server 20 creates a match, it may also provide the matched
                  users with the ability to contact each other through a contact
                  button. In some embodiments, when a match is created,
                  matching server 20 may immediately (or soon thereafter)
                  present an option to users 14 that have been matched to engage
                  in a communication session (e.g., a chat, an SMS message, an
                  e-mail, a telephone call, a voice communication session, a
                  video communication session) . This may be done in response
                  to a first user 14 expressing a preference for a second user 14
                  that has already expressed a preference for the first user 14.

Application, pp. 49-50.
           Thus, rather than performing conventional activities with some abstract "information
and returning a record" as the Office Action suggests, the claims are directed to detecting and
responding to particularized "gestures" corresponding to particular graphical representations
and positive preferences. Notably, the Office Action fails to provide any reasoning as to why
Applicant's claims-with its specific limitations--create any risk of tying up any building
block of human ingenuity, much less disproportionately doing so. Importantly, the Supreme
Court calls for "tread[ing] carefully in construing this exclusionary principle lest it swallow
all of patent law." Alice, 134 S. Ct. at 2354. Even more recently, the Federal Circuit has
emphasized the need "to avoid oversimplifying the claims by looking at them generally and
failing to account for the specific requirements of the claims." McRo, Inc. v. Bandai Namco
Games Am. Inc., No. 2015-1080, 2016 WL 4896481, at *7 (Fed. Cir. Sep. 13, 2016).
           Indeed, because Applicants' claims limit themselves to a particular practical
application, the claims provide a guarantee that there is no comparable risk of preempting all
ways of navigating a user interface.      See Alice, 134 S. Ct.     at 2354-55.      The M.P.E.P.
requires that "[i]f the record as a whole suggests that it is more likely than not that the
claimed invention would be considered a practical application of an abstract idea ... then
USPTO personnel should not reject the claim."           M.P.E.P. § 2106 III (emphasis added).


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Applicants' ordered combination of elements do not rise to the level of preempting the basic
tools of scientific and technological work that the Supreme Court is concerned with. See id.
Despite Claim 1 reciting particular ways of detecting and responding to specific gestures in
the context of navigating a user interface, the Examiner fails to explain how the claim
language creates any preemption concern. In fact, even assuming, for the sake of argument
only, that the Office Action's characterization of the claims as directed to the abstract idea of
"identifying related information and returning a record in response to user's response" is
accurate (a characterization with which Applicant does not agree), Claim 44 clearly does not
preempt all methods of doing so. The Federal Circuit's recent opinion in McRo, Inc. v.
Bandai Namco Games Am. Inc. is instructive. See McRo, Inc., 2016 WL 4896481 at * 7. In
lvfcRo, Inc., the Federal Circuit disagreed with the district court's characterization of the
claims as being directed to the abstract idea of "automated rule-based use of morph targets
and delta sets for lip-synchronized three-dimensional animation" because "the claims [were]
limited to rules with specific characteristics" and "the specific, claimed features of these rules
allow for the improvement realized by the invention." Id. Here, like in McRo, Claim 44
recites specific features that allow for improvements to navigating a user interface. See
AfcRo, 2016 WL 4896481 at *9. Moreover, "by incorporating the specific features" recited in
the claims, Claim 44 is "limited to a specific process" and does not "preempt approaches ...
that use ... different techniques." Id. at 10.
           As the Patent Office itself recognizes, it is proper to "compare the claim to claims
already found to be directed to an abstract idea in a previous court decision." USPTO May
19, 2016 Memorandum: Recent Subject Matter Eligibility Decisions (Enfish, LLC v.
i\1icrosoft Corp. and TL! Communications LLC v. A. V Automotive, LLC) at 1 ("Recent
Subject Matter Eligibility Decisions") at 1. Here, the Office Action contends that the alleged
abstract idea of "identifying related information and returning a record in response to user's
response" is "similar to other concepts that have identified as abstract by the courts, such as
using categories to organize, store and transmit information in Cyberfone, or comparing new
and stored information and using rules to identifying options in Smartgene." Office Action,
p. 4. The Office Action's contention, however, is merely conclusory and provides no analysis
or explanation to support the alleged similarities between these concepts and the method of
navigating a user interface recited in Claim 44. Indeed, Claim 44 is more similar to claims


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recently found to be patent-eligible by the Federal Circuit.
           In Trading Techs. Int 'l, Inc. v. CQG, Inc., the Federal Circuit found that a claim
covering "[a] method for displaying market information ... on a graphical user interface"
was directed to patent-eligible subject matter. No. 2016-1616, 2017 WL 192716, at *1-2
(Fed. Cir. Jan. 18, 2017). The Federal Circuit agreed with the district court's conclusion that
"rather than reciting 'a mathematical algorithm,' 'a fundamental economic or longstanding
commercial practice,' or 'challenge in business,' the challenged patents 'solve problems of
prior graphical user interface devices ... in the context of computerized trading[] relating to
speed, accuracy and usability"' and "are directed to improvements in existing graphical user
interface devices that have no 'pre-electronic trading analog."' Id. at *2. Claim 44 is more
similar to the claims found patent-eligible in Trading Techs. than the cases relied on by the
Office Action. For example, the "dynamically displaying," "displaying," and "setting" steps
recited in the claims at issue in Trading Techs. are analogous to the "presenting,"
"automatically presenting," and "automatically removing" steps recited in Claim 44. Id. at
* 1-2. Similarly, Claim 44 solves problems of prior user interface devices and is directed to
improvements in navigating user interfaces that have no pre-computer analog.               Like the
claims at issue in Trading Techs., Claim 44 does "not simply claim displaying information,"
and recites more than "identifying related information and returning a record in response to
user's response" as alleged by the Office Action. Id. at *3. Moreover, the graphical user
interface of Claim 44 is "not an idea that has long existed, the threshold criterion of an
abstract idea and ineligible concept." Id.
           In addition, Claim 44, as a whole, is distinguishable from the patent-ineligible abstract
concepts found in the Alice and Bilski Supreme Court cases. Alice involved "a method of
exchanging financial obligations between two parties using a third-party intermediary to
mitigate settlement risk." Alice, 134 S. Ct. at 2356. Bilski involved the concept of hedging
risk. Bilski v. Kappos, 561 U.S. 593 (2010). Like the concept of hedging risk in Bilski, Alice's
"concept of intermediated settlement" was held to be "a fundamental economic practice
long prevalent in our system of commerce." Alice, 134 S. Ct. at 2356 (emphasis added).
Similarly, the Court in Alice found that "[t]he use of a third-party intermediary ... is also a
building block of the modern economy." Id. (emphasis added). Thus, the Court held,
"intermediated settlement ... is an 'abstract idea' beyond the scope of§ 101." Id.


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           Unlike the claims directed to the concept of intermediated settlement and hedging risk
in Alice and Bilski, respectively, the steps of Claim 44 are not directed to "a fundamental
economic practice long prevalent in our system of commerce." Id. For example, Claim 44
recites "a method of navigating a user interface" by "presenting, on a graphical user interface,
a graphical representation of a first item of information of a plurality of items of
information," "detecting a gesture associated with the graphical representation of the first
item of information, the gesture corresponding to a positive preference indication associated
with the first item of information," "storing the positive preference indication associated with
the first item of information in response to detecting the gesture," "automatically presenting,
on the graphical user interface, a graphical representation of a second item of information of
the plurality of items of information in response to detecting the gesture," and "automatically
removing the graphical representation of the first item of information from the graphical user
interface in response to detecting the gesture." Claim 44 is therefore directed to a particular
technological improvement in the area of navigating user interfaces, and does not merely
recite the abstract idea of "identifying related information and returning a record in response
to user's response," as alleged in the Office Action. Office Action, p. 4.
           Furthermore, Claim 44 is distinguishable from other claims already found to be
directed to an abstract idea in previous court decisions at least because it is not directed to a
certain method of organizing human activity, a fundamental economic practice, an idea of
itself, a mathematical algorithm, or a basic tool of scientific and technological work. See PNC
Bank v. Secure Axcess, LLC, CBM2014-00100 (Board Sept. 9, 2014), at 20-21. See also US.
Bancorp v. Solutran, Inc., CBM2014-00076 (Board Aug. 7, 2014), at 13-14. Accordingly,
Claim 44 is not directed to an abstract idea and is therefore allowable under Section 101.
           For at least these reasons, the Office Action has failed to establish that Claim 44 is
directed to an abstract idea, and for at least these reasons, Claim 44 is allowable under
Section 101, together with its dependent claims. For at least certain analogous reasons,
Claims 49 and 54 are also allowable under Section 101.


           (B) The claims are patent-eligible because they contain inventive concepts when
           considered as an ordered combination with other claim elements

           In searching for something more, the Supreme Court "consider[ s] the elements of


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each claim both individually and as an ordered combination to determine whether the
additional elements transform the nature of the claim into a patent-eligible application."
Alice, 134 S. Ct. at 2355. But the Office Action and Advisory Action fail to articulate why
the individual elements of the claims do not give rise to an inventive concept. For example,
the they do not address the individual inventiveness of the following recited features of Claim
44:
              •   A method of navigating a user inteift1ce, comprising:
              •   presenting, on a graphical user interface, a graphical representation of a
                  first item of information of a plurality of items of information;
              •   detecting a gesture associated with the graphical representation of the first
                  item of information, the gesture corresponding to a positive preference
                  indication associated with the first item of information;
              •   storing the positive preference indication associated with the first item of
                  information in response to detecting the gesture;
              •   automatically presenting, on the graphical user inteiface, a graphical
                  representation of a second item of information of the plurality of items of
                  information in response to detecting the gesture; and
              •   automatically removing the graphical representation of the first item of
                  information from the graphical user inteiface in response to detecting the
                  gesture.
           As one example, the Office Action does not explain how a "gesture" that is
"associated with the graphical representation of the first item of information" and
"correspond[s] to a positive preference indication associated with the first item of
information" is not an inventive concept, particularly when the claim further requires
performing several separate and distinct actions based on the claimed gesture including
"detecting [the] gesture," "storing the positive preference indication . . . in response to
detecting the gesture," "automatically presenting . . .        a graphical representation . . . in
response to detecting the gesture," and "automatically removing the graphical representation
... in response to detecting the gesture."
           Like the enhancements to the rubber curing process provided by the computer in
Diehr, at least the aforementioned features of Claim 44 provide improvements to the field of

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user interfaces, and in particular to navigating a user interface. See, e.g., Interim Eligibility
Guidance at 31-33; Preliminary Instructions at 3 (citing Alice, 134 S.Ct. at 2359-60;
Diamond v. Diehr, 450 U.S. 175, 177-178 (1981)). Accordingly, these features are
meaningful beyond the mere concept of "identifying related information and returning a
record in response to user's responses," both individually and as an ordered combination.
           Perhaps more importantly, the Office Action and the Advisory Action do not
adequately address the inventive concept contained in the combination of claim elements
other than making precisely the same conclusory statements. Office Action, p. 2 (stating with
no explanation that "When viewed ... as an ordered combination, the claim as a whole does
not add significantly more to the abstract idea of data retrieval of a record based on the user's
response."); Advisory Action at 2 (same). Indeed, the specificity of the instant claims as an
ordered combination confirm that they are directed to a patent-eligible implementation. The
Patent Office recently issued guidelines entitled, "Subject Matter Eligibility Examples:
Business Methods" dated December 15, 2016, that emphasize the importance of analyzing
claims as a combination of claim elements in the § 101 context. In one of those subject
matter eligibility examples-namely, example "34. System for Filtering Internet Content" -
the Patent Office notes that "the Federal Circuit determined, these limitations [of a local
computer, ISP server, Internet computer network, and controlled access network account] do
not amount to significantly more when 'taken individually, because they recite generic
computer, network and Internet components, none of which is inventive by itself."' Id at p.
3. Nevertheless, as the Patent Office acknowledges, "an inventive concept can be found in the
unconventional and non-generic combination of known elements . . . . " Id at 4. In that
example, those "limitations confine the abstract idea to a particular, practical application of
the abstract idea" and "[t]hus, when viewed as an ordered combination, the claim limitations
amount to significantly more than the abstract idea of content filtering." Id        The Patent
Office "agree[s] that this instruction [to consider additional elements both individually and in
combination] is vital to ensuring the eligibility of many claims, because even if an element
does not amount to significantly more on its own (e.g., because it is merely a generic
computer components performing generic computer functions), it can still amount to
significantly more when considered in combination with the other elements of the claim."
"July 2015 Update: Subject Matter Eligibility" at pp. 1-2.


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           In improperly characterizing the claims, the Office Action ignores that the
claims are an ordered combination of functional               and     structural components that
solve a particular problem of navigating a user interface.                 As the Supreme Court
recently cautioned: not all abstract ideas are unpatentable because "[a]t some level,
all inventions embody, use, reflect, rest upon, or apply . . . abstract ideas.                Thus an
invention is not rendered ineligible for patent simply because it involves an abstract
concept"       Alice Corp. v. CLS Bank Int'!, 134 S. Ct. 2347, 2354 (2014)                    (internal
citations omitted).     Rather, if it "pose[s] no comparable risk of pre-emption               . . [it]
therefore remain[s] eligible for the monopoly granted under our patent laws."                   Id. at
2355.      Following the Alice decision, the Federal Circuit has confirmed patentability of
computer-implemented clams on numerous occasions.                   See,    e.g.,   Enfish,   LLC v.
Microsoft Corp.,      822   F.3d   1327,    1335   (2016) (in upholding patent eligibility of
computer-implemented claims,        reasoning that "Much of the advancement made                     m
computer technology consists of improvements to software that, by their very nature,
may not be defined by particular physical features but rather by logical structures and
processes. We do not see in Bilski or Alice, or our cases, an exclusion to patenting this
large field of technological progress.").
           In this case, other than summarily stating that the claims do not add additional
elements when considered either individually or as an ordered combination (see Office
Action, p. 2 & Advisory Action, p. 2), the Office Action and Advisory Action fail to
articulate any specific reason why the non-generic and unconventional combination of
elements does not give rise to an inventive concept.           Moreover, the claim limitations
themselves confirm that they operate to confine the claims to a "particular, and practical
application," rather than abstract subject matter-a conclusion that would only be further
reinforced when the claim is viewed as ordered combination of elements.                 Accordingly,
because the Office Action and Advisory Action do not adequately address patent eligibility of
the ordered combination of elements, much less the individual elements, the Office Action
fails to establish a prima facie case of patent ineligibility. As a result, Applicants respectfully
request reconsideration and withdrawal of the pending § 101 rejections.




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           Claim 44 Does Not Seek To Tie Up any Abstract Idea Such that Others Cannot
           Practice It.
           Claim 44 does not monopolize the basic tool for performing any scientific or
technological work. See Alice, 134 S. Ct. at 2354 ("abstract ideas are the basic tools of
scientific and technological work. Monopolization of those tools through the grant of a patent
might tend to impede innovation more than it would promote it."); see also Interim
Guidelines at 74625 ("[A] streamlined eligibility analysis can be used for a claim that may or
may not recite a judicial exception but, when viewed as a whole, clearly does not seek to tie
up any judicial exception such that others cannot practice it."). For example, Claim 44, as
discussed above, requires much more than "identifying related information and returning a
record in response to user's response." Even assuming that Claim 44 may involve
"identifying related information and returning a record in response to user's response" at a
high level of generality, this does not render Claim 44 ineligible because it is not directed to
"identifying related information and returning a record in response to user's response" in the
abstract. See Alice, 134 S.Ct. at 2354 ("[a]t some level, all inventions embody, use, reflect,
rest upon, or apply ... abstract ideas. Thus an invention is not rendered ineligible for patent
simply because it involves an abstract concept"). Said another way, the specific form of
navigating a user interface is not a "long prevalent" or "well-understood" technique that one
of skill in the art would recognize. Thus, Claim 44 does not raise the concerns regarding pre-
emption that the Supreme Court articulated in Alice.


Conclusion
           For at least these reasons, Applicants respectfully request reconsideration and
allowance of Claim 44, together with its dependent claims. For at least certain analogous
reasons, Applicants respectfully request reconsideration and allowance of independent
Claims 49 and 54, together with their dependent claims.


Claim Rejections under 35 U.S.C. § 103
           The Office Action rejects Claims 44-58 under 35 U.S.C. § 103(a) as allegedly being
unpatentable over U.S. Patent Application Publication No. 2014/0040368 to Janssens
("Janssens") in view of U.S. Patent Application Publication No. 2014/0162241 to Morgia
("Morgia"). Applicant traverses these rejections for the reasons discussed below.

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           The claimed technology was invented prior to August 6, 2012, which is the priority
date of Janssens. 1 As evidence, Applicant previously submitted the declaration of inventor
Jonathan Badeen and its accompanying exhibits. See Response dated March 14, 2017. Thus,
pursuant to M.P.E.P. § 715, the Section 103 rejection using Janssens is overcome. Applicant
respectfully requests reconsideration and allowance of all pending claims.
           In response to Applicant's submission pursuant to M.P.E.P. § 715 on March 14, 2017,
the Examiner issued an Advisory Action indicating that "the Affidavit filed on 03/14/201 7 is
not going to be entered" because "the Examiner requires further consideration and
examination regarding on (sic) the Affidavit filed on 03/14/2017." Advisory Action dated
March 21, 2017 at 2. Thus, for further consideration and examination, Applicant submits the
declaration of inventor Jonathan Badeen and its accompanying exhibits concurrently with this
response.     In view of the Request for Continued Examination (RCE) accompanying this
response, Applicant respectfully requests entry of the declaration, and reconsideration and
allowance of all pending claims in light of the declaration and exhibits.


Request for Evidentiary Support
           Should a rejection based on any of the above asserted rejections be maintained,
Applicant respectfully requests appropriate evidentiary support. For example, if the Examiner
is relying on alleged "common knowledge," alleged "well known" principles, "Official
Notice," or other information within the Examiner's personal knowledge, Applicant
respectfully requests that the Examiner cite a reference as documentary evidence in support
of this position or provide an affidavit. See M.P.E.P. § 2144.03 and 37 C.F.R. § 1.104(d)(2).


No Waiver
           Applicant's arguments and amendments are made without prejudice or disclaimer. By
not responding to additional statements made by the Examiner, Applicant does not acquiesce
to the additional statements. The distinctions between the applied references and the claims
are provided as examples only and are sufficient to overcome the rejections. Applicant



1
  Janssens has a filing date of March 14, 2013, and claims priority to a provisional
application No. 611680,217, filed on August 6, 2012.
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reserves the right to discuss additional or other distinctions in a later response or on appeal, if
appropriate.
                                           Conclusion
           Applicant has made an earnest attempt to place this case in condition for allowance.
For at least the above reasons, Applicant respectfully requests full allowance of all pending
claims.
           If a telephone conference would advance prosecution of this Application, the
Examiner may contact Chad C. Walters, Attorney for Applicants, at 214.953.6511. The
Examiner may also communicate with Chad Walters concerning this Application by
electronic mail at chad.walters@bakerbotts.com.
           The Commissioner is hereby authorized to charge the $1,200.00 Request for
Continued Examination (RCE) fee and the $600.00 two-month Extension of Time fee, and to
the extent necessary, any additional fees deemed necessary to Deposit Account No. 02-0384
of BAKER BOTTS L.L.P.


                                                 Respectfully submitted,

                                                                          S L.L.P.
                                                                          pplicant
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                                                 J   son K. Kuncheria
                                                  eg. No. 69,093
                                                 Telephone: 214.953.6674


Date: April 20, 201 7
Correspondence Address:

Customer No:             05073




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               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




 In re Application of:            Sean Rad et al.
 Serial No.:                      15/016,662
 Filing Date:                     February 5, 2016
 Group Art Unit:                  2153
 Examiner:                        Yuk Ting Choi
 Confirmation No.:                9869
 Title:                           MATCHING PROCESS SYSTEM AND METHOD



Commissioner for Patents
PO Box 1450
Alexandria, VA 22313-14 50


Dear Sir:


                      DECLARATION PURSUANT TO 37 C.F.R. § 1.131

          I, the undersigned, declare and state that:

          1.    I am over the age of 21 years, of sound mind, and competent in all respects to
make this Declaration.
          2.    I am an inventor of the subject matter of the above-referenced application (the
"Application").
          3.    Prior to August 6, 2012 (the "Effective Date"), I gained a full understanding of
the subject matter of at least the current version of the claims of the Application (attached as
Exhibit A).
          4.    Attached as Exhibit B are screenshots and accompanying descriptions of a
working application developed prior to the Effective Date.          The application presented
potential matches to a candidate. After the candidate expressed a preference regarding a
potential malch, the application automatically removes that potential match and presents the
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 next potential match. The application was tested, prior to the Effective Date, to confirm that
 the functionality discussed above worked.
        5.    Prior to the Effective Date, I developed code that implemented using swiping
 gestures to express approval and disapproval of a potential match. Attached as Exhibit C are
 portions of that source code.
        6.    All of the work in conceiving and reducing to practice the suqject matter of the
 current version of the claims in the Application occurred in the United States.
        7.    f hereby declare that all statements made herein of my own knowledge are true
 and that all statements made on information and belief are believed to be true. Further, I
 declare that these statements are made with the knowledge that willful false statements, and
the like so made, are punfohable by fine or impl'isonment, or both, under Section I 001, Title
 I 8 of the United States Code, and that such willful false statements may jeopardize the
validity of the Application or any patent issuing thereon.


                                       Signed this   t +--L. day of_ P:'W>r<> o. .ry   '2017.



                                         #~-
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                   EXHIBIT A
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Currently Pending Claims


        Claims 1-43 (Cancelled)


        44.    (Previously Presented) A method of navigating a user interface, comprising:
        presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
        detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
       storing the positive preference indication associated with the first item of information in
response to detecting the gesture;
       automatically presenting, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting the
gesture; and
       automatically removing the graphical representation of the first item of information from
the graphical user interface in response to detecting the gesture.


       45.     (Previously Presented) The method of Claim 44, wherein presenting the graphical
representation of the first item of information of the plurality of items of information comprises
presenting user interface controls such that all user interface controls configured to cause another
item of information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.


       46.     (Previously Presented) The method of Claim 44, wherein detecting the gesture
associated with the graphical representation of the first item of information comprises detecting a
swiping direction associated with the gesture.
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        4 7.    (Previously Presented) The method of Claim 44, wherein presenting the graphical
representation of the first item of information of the plurality of items of information comprises
presenting the first item of information as a first card of a stack of cards.


        48.    (Previously Presented) The method of Claim 44, wherein:
        the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the positive preference indication associated with the first item of information comprises
an expression of approval for a user associated with the first user profile.
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        49.     (Previously Presented) A system, comprising:
        an interface operable to:
                present a graphical representation of a first item of information of a plurality of
items of information;
        a processor coupled to the interface and operable to:
                detect a gesture associated with the graphical representation of the first item of
information, the gesture c01Tesponding to a positive preference indication associated with the
first item of information;
                store the positive preference indication associated with the first item of
information in response to detecting the gesture; and
        the interface further operable to:
                automatically present a graphical representation of a second item of information
of the plurality of items of information in response to the processor detecting the gesture; and
                automatically remove the graphical representation of the first item of information
in response to detecting the gesture.


        50.     (Previously Presented) The system of Claim 49, wherein the processor is further
operable to detect a swiping direction associated with the gesture.


        51.    (Previously Presented) The system of Claim 49, wherein the interface is further
operable to present the first item of information as a first card of a stack of cards.


       52.     (Previously Presented) The system of Claim 49, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the positive preference indication associated with the first item of information comprises
an expression of approval for a user associated with the first user profile.
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       53.     (Previously Presented) The system of Claim 49, wherein the interface is further
operable to present user interface controls such that all user interface controls configured to
cause another item of information of the plurality of items of information to be displayed are
associated with performing an action on the first item of information.
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        54.      (Previously Presented) At least one non-transitory computer-readable medium
comprising a plurality of instructions that, when executed by at least one processor, are
configured to:
        present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
        detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
        store the positive preference indication associated with the first item of information in
response to detecting the gesture;
        automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting the
gesture; and
        automatically remove the graphical representation of the first item of information from
the graphical user interface in response to detecting the gesture.


        55.      (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to detect a
swiping direction associated with the gesture.


        56.      (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are configured to present the first item
of information as a first card of a stack of cards.
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       57.     (Previously Presented)       The at least one non-transitory computer-readable
medium of Claim 54, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the positive preference indication associated with the first item of information comprises
an expression of approval for a user associated with the first user profile.


       58.     (Previously Presented)       The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present user
interface controls such that all user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.
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                   EXHIBITB
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Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 141 of 181



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                   EXHIBITC
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083523.0117                                                                   15/016,662



                                  MBGameviewcontroller ABRIDGED
    II
    II   MBGameviewcontroller.m
    II   matchbox
    II
    II   Created by Jonathan Badeen on 616112.
    II   copyright (c) 2012 Hatch Labs. All rights reserved.
    II

@implementation MBGameviewcontroller
#pragma mark - Game & cards
- (void)updateGame
{


     for (UIGestureRecognizer *9estureRecognizer in
self.currentcard.gestureRecogn1zers) {
         gestureRecognizer.enabled = gameButtonsEnabled;
         }
}

- (MBCardView *)dequeueReusablecard
{
         MBCardView *card= [self.reusablecards lastobject];
         if (!card) {
             card= [[MBCardView alloc] init];
        [card addGestureRecognizer:[[UIPanGestureRecognizer alloc]
initWithTarget:self action:@selector(cardPanned:)]];
         }   '   ..
         for (UIGestureRecognizer *gestureRecognizer in card.gestureRecognizers) {
             gestureRecognizer.enabled =NO;
         }

         return card;
}
- (void)cardPanned:(UIPanGestureRecognizer *)gestureRecognizer
{
         static CGPoint startLocation;
         static urrmageview *dislikerma9eview;
         static UIImageview *likermageV1ew;
         CGFloat confirmedXTranslation = 100.0;
         CGFloat rninconfirrnedvelocity = 2000.0;
         CGPoint translation= [gestureRecognizer translationrnview:self.currentcard];
         switch (gestureRecognizer.state) {
             case UIGestureRecognizerstatePossible:
            break;
        case UIGestureRecognizerstateBegan:
            startLocation = [gestureRecognizer locationrnview:self.currentcard];
            likeimageView = [LUIIrnageView alloc] initWithimage:[UIImage
imageNamed:@"MBLikedstamp"]J;
         . likeimageView.transforrn = CGAffineTransforrnMakeRotation(M_PI_4 I 2.0 *
-1);
           likeimageView.center =
CGPointMake(CGRectGetMidX(self.currentCard.bounds) - 45.0,
                                       Page 1
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                           MBGameviewcontroller ABRIDGED
CGRectGetMidY(self.currentCard.bounds) - 85.0);
          likeimageView.alpha = O;
           [self.currentcard addsubview:likeimageView];
            dislikeimageView = [[UIImageView alloc] initwithrmage:[UIImage
imageNamed:@"MBNopeStamp"]];
            dislikermageview.transform = CGAffineTransformMakeRotation(M_PI_4 / 2.0
"' 1);
           dislikeima9eview.center =
CGPointMake(CGRectGetM1dX(self.currentcard.bounds) + 45.0,
CGRectGetMidY(self.currentcard.bounds) - 85.0);
           dislikeimageView.alpha = O;
           [self.currentcard addsubview:dislikeimageView];
             self.nextcard.hidden = No;
         case UIGestureRecognizerstatechanged:
         {
            CGFloat rotationDirection = startLocation.y I
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? 1 : -1;
            CATransform3D translationTransform :=
CATransform3DMakeTranslation(translation.x, translation.y, O);
            CATransform3D rota ti onTransform = CATransform3DMakeRotati on( (M_PI * 2) ;,
(translation.x / 5000.0), 0, O, rotationDirection);
            CATransform3D transform = CATransform3DConcat(translationTransform,
rotationTransform);
            self.currentcard.layer.transform =transform;
            CGFloat startstampshowx = 30.0;
            likerma9eview.alpha = (translation.x - startstampshowx) I
(confirmedXTranslat1on - startstampshowX);
            dislikermageView.alpha = (translation.x + startstampshowX) I
(-confirmedXTranslation + startStampshowX);
         }
             break;
         case UIGestureRecognizerstateEnded:
         case UIGestureRecognizerstatecancelled:
             if (fabsf(translation.x) < confirmedXTranslation && [gestureRecognizer
velocityrnview:self.currentcard].x < minconfirmedVelocity) {
                 [UIView animateWithDuration:0.2 delay:O
options:urviewAnimationcurveEaseout animations:A{
                     self.currentcard.transform        CGAffineTransformrdentity;
                     likeimageView.alpha = O;
                     dislikeimageView.alpha = O;
                 } completion:A(BOOL finished) {
                     self.nextcard.hidden = YES;
                     [l i keimageV·i ew removeFromsupe rvi ew] ;
                     [dislikermageView removeFromsuperview];
                }J;
             } else {
                 NSTimeinterval maxouration = 0.2;
                 NSTimeinterval adjustedDuration = maxDuration;
                 [UIView animateWithDuration:adjustedDuration delay:O
options:urviewAnimationcurveEaseout animations:A{
                     CGFloat direction= 1.0;
                     if (translation.x > 0) {
                      } e 1 se {
                           direction= -1.0;
                      }
                   //CGFloat rotationDirection = startLocation.y /
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? -1 : 1;
                   CGFloat XPOS = 400.0;
                   CGAffineTransform translationTransform
                   ·                   Page 2
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                                MBGameViewcontroller ABRIDGED
CGAffineTransformMakeTranslation(xPos *direction, [(NSNumber
'')[self. currentcard. 1 ayer va 1ueForKeyPath: @"transform. transl at ion. y"] fl oatval ue]);
                       //CGAffineTransform rotationTransform =
CGAffineTransformMakeRotation((M_PI * 2) '' (xPos / 5000.0) ·~ rotationoirection);
                       self.currentcard.transform = translationTransform;
//CGAffineTransformconcat(trans'lationTransform, rotationTransform);
                  } completion:A(BOOL finished) {
                       [likermageview removeFromsuperviewJ;
                       [dislikeimageView removeFromsuperview];
                    MBUser *user = self.currentcard.user;
                    [self updateGame];
                    if (translation.x < 0) {
                         [[MBMatchboxAPI sharedMatchboxAPI] dislikeuser:user];
                    } else {
                         [[MBMatchboxAPI sharedMatchboxAPI) likeUser:user
completion:A(BOOL success, MBUser *user, BOOL isMatch) {
                             if (success && isMatch) {
                                 MBNewMatchViewcontroller *vc ~
[[MBNewMatchViewcontroller alloc] init];
                                 vc.matcheduser = user;
                                 vc.backgroundscreenshot = [UIImage
imageWithview:self.view];
                                 [self presentviewcontroller:vc animated:NO
completion:/\{
                                        }];
                                    }
                              }J;
                          }
                   }] ;

               ~reak;
           case UIGestureRecognizerstateFailed:
               break;
           default:
               break;
       }


}



@end




                                              Page 3
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                             Electronic Patent Application Fee Transmittal
 Application Number:                            15016662


 Filing Date:                                   05-Feb-2016




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Samir A Bhavsar/Judy Baggett


 Attorney Docket Number:                        083523.0117


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                              Sub-Total in
                         Description                   Fee Code        Quantity      Amount
                                                                                                USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
           Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 147 of 181
                                                                                     Sub-Total in
                      Description                Fee Code      Quantity     Amount
                                                                                       USO($)

             Extension - 2 months with $0 paid     1252           1          600         600


Miscellaneous:


                     RCE- 1st Request              1801           1          1200        1200


                                                          Total in USO($)            1800
            Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 148 of 181
                                       Electronic Acknowledgement Receipt

                          EFSID:                                28982751


                  Application Number:                            15016662


         International Application Number:

                  Confirmation Number:                          9869




                    Title of Invention:                         Matching Process System And Method




       First Named Inventor/Applicant Name:                     Sean Rad


                   Customer Number:                             5073


                           Filer:                               Samir A Bhavsar/Judy Baggett


                   Filer Authorized By:                         Samir A Bhavsar


               Attorney Docket Number:                          083523.0117


                      Receipt Date:                             20-APR-2017


                       Filing Date:                             05-FEB-2016


                      Time Stamp:                                15:36:28


                    Application Type:                           Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                   DA

Payment was successfully received in RAM                        $1800

RAM confirmation Number                                         0421171NTEFSVl/00002476020384

Deposit Account                                                 020384

Authorized User                                                 Judy Baggett

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      37 CFR 1.16 (National application filing, search, and examination fees)
      37 CFR 1.17 (Patent application and reexamination processing fees)
             Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 149 of 181
       37 CFR 1.19 (Document supply fees)

       37 CFR 1.20 (Post Issuance fees)

       37 CFR 1.21 (Miscellaneous fees and charges)




File Listing:
 Document                                                                                     File Size(Bytes}/                    Multi              Pages
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  Number                                                                                      Message Digest                      Part /.zip        (if appl.)

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                                                 Multipart Description/PDF files in .zip description

                                          Document Description                                           Start                              End


                          Amendment Submitted/Entered with Filing of CPA/RCE                                1                                  1



                                                  Claims                                                    2                                  7



                          Applicant Arguments/Remarks Made in an Amendment                                  8                                  19


Warnings:
Information:

                                                                                                       854243

      3           Affidavit-Rule 131-pre-AIA (FTI) ONLY       117Declaration.PDF                                                      no                21
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Warnings:
Information:

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      4                   Fee Worksheet (SB06)                    fee-info.pdf                                                        no                2
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Warnings:
Information:
                                                           Total Files Size (in bytes)                                      1928211
            Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 150 of 181
This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                   Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 151 of 181
                                                                                                                                                                              PTO/SB/06 (09-11)
                                                                                                                                             Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                                        Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number.

    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      15/016,662                      02/05/2016             D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                     RATE($)                            FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x   $          =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x   $          =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                           TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)              (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     04/20/2017              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
z                               AMENDMENT                        PAID FOR
w      Total (37 CFR
~       1.16(i\\                * 15                 Minus       ** 20                =   0                                  x   $80 =                                      0
0
z       Independent
       (37 CFR 1.16(hll         *3                   Minus       ***3                 =   0                                  x   $420 =                                     0
w
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<(
        D Application Size Fee (37 CFR 1.16(s))
        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE                               0
                                    (Column 1)                        (Column 2)              (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
                                   AFTER                         PREVIOUSLY
                                AMENDMENT                         PAID FOR
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 <(     D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE

 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   SHEILA D. CHAPMAN
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information is required by 37 CFR 1.16. The information is required to obtain or retain a benefit by the public which is to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
preparing, and submitting the completed application form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount of time you
require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S.
Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, call 1-800-PT0-9199 and select option 2.
               Case 6:21-cv-00147-ADA Document 15-11 Filed 04/22/21 Page 152 of 181
                    UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                              UNITED STATES DEPARTMENT OF COMMERCE
                                                                              United States Patent and Trademark Office
                                                                              Address: COMMISSIONER FOR PATENTS
                                                                                    P.O. Box 1450
                                                                                    Alexandria, Virginia 22313-1450
                                                                                    www .uspto.gov




   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       15/016,662               02/05/2016                  Sean Rad              083523.0117                         9869

       5073             7590             03/21/2017
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 700
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   03/21/2017                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                Case 6:21-cv-00147-ADA Document    15-11
                                            Application No. Filed 04/22/21    Page 153 of 181
                                                                         Applicant(s)
                Advisory Action             151016,662                   RAD ET AL.
       Before the Filing of an Appeal Brief Examiner                     Art Unit     AIA (First Inventor to File) Status        I
                                                                        YUK TING CHOI                             2153               No

                   --The MAILING DATE of this communication appears on the cover sheet with the correspondence address --
 THE REPLY FILED 14 March 2017 FAILS TO PLACE THIS APPLICATION IN CONDITION FOR ALLOWANCE.
 NO NOTICE OF APPEAL FILED
 1. 1:8:1 The reply was filed after a final rejection. No Notice of Appeal has been filed. To avoid abandonment of this application, applicant must timely file one
          of the following replies: (1) an amendment, affidavit, or other evidence, which places the application in condition for allowance;
          (2) a Notice of Appeal (with appeal fee) in compliance with 37 CFR 41.31; or (3) a Request for Continued Examination (RCE) in compliance with 37
          CFR 1.114 if this is a utility or plant application. Note that RCEs are not permitted in design applications. The reply must be filed within one of the
          following time periods:
    a) [gl The period for reply expires ~months from the mailing date of the final rejection.
    b)    D    The period for reply expires on: (1) the mailing date of this Advisory Action; or (2) the date set forth in the final rejection, whichever is later. In
               no event, however, will the statutory period for reply expire later than SIX MONTHS from the mailing date of the final rejection.
    c)    D      A prior Advisory Action was mailed more than 3 months after the mailing date of the final rejection in response to a first after-final reply filed
               within 2 months of the mailing date of the final rejection. The current period for reply expires           months from the mailing date of
                the prior Advisory Action or SIX MONTHS from the mailing date of the final rejection, whichever is earlier.
                       Examiner Note: If box 1 is checked, check either box (a), (b) or (c). ONLY CHECK BOX (b) WHEN THIS ADVISORY ACTION IS THE
                       FIRST RESPONSE TO APPLICANT'S FIRST AFTER-FINAL REPLY WHICH WAS FILED WITHIN TWO MONTHS OF THE FINAL
                       REJECTION. ONLY CHECK BOX (c) IN THE LIMITED SITUATION SET FORTH UNDER BOX (c). See MPEP 706.07(f).
 Extensions of time may be obtained under 37 CFR 1.136(a). The date on which the petition under 37 CFR 1.136(a) and the appropriate extension
 fee have been filed is the date for purposes of determining the period of extension and the corresponding amount of the fee. The appropriate
 extension fee under 37 CFR 1.17(a) is calculated from: (1) the expiration date of the shortened statutory period for reply originally set in the final
 Office action; or (2) as set forth in (b) or (c) above, if checked. Any reply received by the Office later than three months after the mailing date of the
 final rejection, even if timely filed, may reduce any earned patent term adjustment. See 37 CFR 1.704(b).
 NOTICE OF APPEAL
 2.   D   The Notice of Appeal was filed on _ _ . A brief in compliance with 37 CFR 41.37 must be filed within two months of the date of filing the
          Notice of Appeal (37 CFR 41.37(a)), or any extension thereof (37 CFR 41.37(e)), to avoid dismissal of the appeal. Since a Notice of Appeal
          has been filed, any reply must be filed within the time period set forth in 37 CFR 41.37(a).
 AMENDMENTS
 3. [gl The proposed amendments filed after a final rejection, but prior to the date of filing a brief, will not be entered because
        a) [gl They raise new issues that would require further consideration and/or search (see NOTE below);
        b)    DThey raise the issue of new matter (see NOTE below);
        c)    DThey are not deemed to place the application in better form for appeal by materially reducing or simplifying the issues for
               appeal; and/or
        d)    DThey present additional claims without canceling a corresponding number of finally rejected claims.
                NOTE: See Continuation Sheet. (See 37 CFR 1.116 and 41.33(a)).
 4.   D The amendments are not in compliance with 37 CFR 1.121. See attached Notice of Non-Compliant Amendment (PTOL-324).
 5. D Applicant's reply has overcome the following rejection(s): _ _ .
 6. D Newly proposed or amended claim(s) _ _ would be allowable if submitted in a separate, timely filed amendment canceling the non-
          allowable claim(s).
 7. 1:8:1 For purposes of appeal, the proposed amendment(s): (a) 1:8:1 will not be entered, or (b) D will be entered, and an explanation of how the
          new or amended claims would be rejected is provided below or appended.
 AFFIDAVIT OR OTHER EVIDENCE
 8.   D A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
9. D The affidavit or other evidence filed after final action, but before or on the date of filing a Notice of Appeal will not be entered because
          applicant failed to provide a showing of good and sufficient reasons why the affidavit or other evidence is necessary and was not earlier
          presented. See 37 CFR 1.116(e).
 1O. D The affidavit or other evidence filed after the date of filing the Notice of Appeal, but prior to the date of filing a brief, will not be entered
          because the affidavit or other evidence failed to overcome g!! rejections under appeal and/or appellant fails to provide a showing of good and
          sufficient reasons why it is necessary and was not earlier presented. See 37 CFR 41.33(d)(1 ).
 11. D The affidavit or other evidence is entered. An explanation of the status of the claims after entry is below or attached.
 REQUEST FOR RECONSIDERATION/OTHER
 12. 1:8:1 The request for reconsideration has been considered but does NOT place the application in condition for allowance because:
            See Continuation Sheet.
 13. D Note the attached Information Disclosure Statement(s). (PTO/SB/08) Paper No(s). _ _
 14. D Other: _ _ .
STATUS OF CLAIMS
 15. The status of the claim(s) is (or will be) as follows:
     Claim(s) allowed:
     Claim(s) objected to:
     Claim(s) rejected: 44-58.
    Claim(s) withdrawn from consideration:

                                                                                 /YUK TING CHOI/
                                                                            I Primary Examiner, Art Unit 2153
U.S. Patent and Trademark Office
PTOL-303 (Rev. 08·2013)                         Advisory Action Before the Filing of an Appeal Brief                                 Part of Paper No. 20170315
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Continuation Sheet (PTOL-303)                                                                              Application No. 15/016,662


   Continuation of 3. NOTE: This office action is in response to applicant's communication filed on 03/14/2017 in response to Final office
  action mailed on 11 /21 /2016. No claims have been amended, added or canceled. The Affidavit filed on 03/14/2017 needs further
  examination and consideration. Therefore, the Affidavit wil not be entered ..




   Continuation of 12. does NOT place the application in condition for allowance because: Applicant's argument with respect to 101 rejection
  states as "Applicants respectfully disagree at least because such a characterization overs simplifies the claimed invention, and improperly
  ignores numerous features recited in claim 44".
            In response to Applicant's argument, the Examiner disagrees because detecting the claimed "preference indication" is just
  detecting a preference response from a user and the recited features do not have additional elements beyond the abstract idea of identify
  related information based on a user's response and returning a record. The recited steps or acts e.g. detecting, storing, presenting and
  removing perform only basic generic computer/server data retrieval functions, which are common to all content service. When viewed
  either as individual limitations or as an ordered combination, the claim as a whole does not add significantly more to the abstract idea of
  data retrieval of a record based on the user's response. Therefore, the 35 USC 101 rejections are maintained.


  Applicant's argument with respect to 35 USC 103 rejections states as "The claimed technology was invented prior to August 6, 2012, which
  is the priority date of Janssens ... ".
  In response to Applicant's argument, the Examiner requires further consideration and examination regarding on the Affidavit filed on
  03/14/2017. Therefore, the Affidavit filed on 03/14/2017 is not going to be entered. The 35 USC 103 rejections made in the Final rejection
  mailed on 11 /21 /2016 are still valid.




                                                                       2
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                    DO NOT ENTER: /Y.C/
                      the Affidavit

ATTORNEY'S DOCKET                                                  PATENT APPLICATION
083523.0117                                                             USSN 15/016,662
                                             1of17


               IN THE UNITED STATES PA TENT AND TRADEMARK OFFICE




First Named Inventor:            Sean Rad
Filed:                           February 5, 2016
Group Art Unit:                  2153
Confirmation No.                 9869
Examiner:                        Yuk Ting Choi
Title:                           Matching Process System and Method



Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:


                                Response Under 37 C.F.R. § 1.116

           In response to the Final Office Action dated November 21, 2016 (the "Office
Action"), Applicant respectfully requests the Examiner to reconsider the rejection of the
claims in view of the following remarks.




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ATTORNEY'S DOCKET                                               PATENT APPLICATION
083523.0117                                                          USSN 15/016,662
                                           I of 17


               IN THE UNITED STA TES PATENT AND TRADEMARK OFFICE




First Named Inventor:         Sean Rad
Filed:                        February 5, 2016
Group Art Unit:               2153
Confirmation No.              9869
Examiner:                     Yuk Ting Choi
Title:                        Matching Process System and Method



Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313-1450




Dear Sir:


                             Response Under 37 C.F.R. § 1.116

           In response to the Final Office Action dated November 21, 2016 (the "Office
Action"), Applicant respectfully requests the Examiner to reconsider the rejection of the
claims in view of the following remarks.




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In the Claim
           Claims 1-43 (Cancelled)


           44.    (Previously Presented) A method of navigating a user interface, comprising:
           presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           storing the positive preference indication associated with the first item of information
in response to detecting the gesture;
           automatically presenting, on the graphical user interface, a graphical representation of
a second item of information of the plurality of items of infonnation in response to detecting
the gesture; and
           automatically removing the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           45.    (Previously Presented)    The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.


           46.    (Previously Presented)     The method of Claim 44, wherein detecting the
gesture associated with the graphical representation of the first item of information comprises
detecting a swiping direction associated with the gesture.




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           47.     (Previously Presented)     The method of Claim 44, wherein presenting the
graphical representation of the first item of information of the plurality of items of
information comprises presenting the first item of information as a first card of a stack of
cards.


           48.    (Previously Presented) The method of Claim 44, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           49.     (Previously Presented) A system, comprising:
           an interface operable to:
                   present a graphical representation of a first item of information of a plurality
of items of information;
           a processor coupled to the interface and operable to:
                   detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
                   store the positive preference indication associated with the first item of
information in response to detecting the gesture; and
           the interface further operable to:
                   automatically present a graphical representation of a second item of
information of the plurality of items of information in response to the processor detecting the
gesture; and
                   automatically remove the graphical representation of the first item of
information in response to detecting the gesture.


           50.     (Previously Presented)       The system of Claim 49, wherein the processor is
further operable to detect a swiping direction associated with the gesture.


           51.     (Previously Presented)       The system of Claim 49, wherein the interface is
further operable to present the first item of information as a first card of a stack of cards.


           52.     (Previously Presented) The system of Claim 49, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.




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           53.   (Previously Presented)   The system of Claim 49, wherein the interface is
further operable to present user interface controls such that all user interface controls
configured to cause another item of information of the plurality of items of information to be
displayed are associated with performing an action on the first item of information.




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           54.     (Previously Presented) At least one non-transitory computer-readable medium
comprising a plurality of instructions that, when executed by at least one processor, are
configured to:
           present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
           detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
           store the positive preference indication associated with the first item of information in
response to detecting the gesture;
           automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting
the gesture; and
           automatically remove the graphical representation of the first item of information
from the graphical user interface in response to detecting the gesture.


           55.     (Previously Presented)     The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to detect a
swiping direction associated with the gesture.


           56.    (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are configured to present the first
item of information as a first card of a stack of cards.


           57.    (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein:
           the first item of information comprises a first user profile;
           the second item of information comprises a second user profile; and
           the positive preference indication associated with the first item of information
comprises an expression of approval for a user associated with the first user profile.



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           58.   (Previously Presented)   The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present
user interface controls such that all user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.




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                                            REMARKS
           This Application has been reviewed carefully in light of the Office Action. Applicant
appreciates the Examiner's consideration of the Application. At the time of the Office Action
Claims 44-58 were pending. The Office Action rejects these claims. Applicant respectfully
submits that all pending claims are allowable without amendment, and respectfully requests
reconsideration and favorable action in this case in view of the following remarks.


Request for Interview
           If the Examiner intends to issue a new Office Action in response to this submission, in
the interest of compact and efficient prosecution, Applicant respectfully requests that the
Examiner contact Applicant's attorney prior to issuing the new Office Action to discuss a
possible resolution to any outstanding issues.


Claim Rejections under 35 U.S.C. § 101
           The Office Action rejects Claims 44-58 under 35 U.S.C. § 101 as allegedly being
directed to non-statutory subject matter. In particular, the Office Action alleges that the
claims are directed to the abstract idea of "identifying related information and returning a
record in response to user's response." Office Action at 4. Applicant respectfully disagrees,
and discusses independent Claim 44 as an example.
           In Alice and Mayo, the Supreme Court laid out a two-step framework for determining
if a claim recites patent eligible subject matter. Both parts must be met to reject a claim under
Section 101. Step one requires determining whether the claims are directed to an abstract
idea. See Alice Corp. Pty v. CLS Bank lnt'l, 134 S.Ct. 2347, 2355 (2014). If the claims are not
directed to an abstract idea, the inquiry ends there and the claims are found patent-eligible. Id.
at 2357. However, if the claims are directed to an abstract idea, the next step is to determine
whether the claims recite "something more," (i.e., additional features that render the claim
patent eligible). Id. at 2354. The key question in determining patent eligibility is whether an
invention "risk[s] disproportionately tying up the use of the underlying ideas." Id. If it does
not, the invention "remain[s] eligible for the monopoly granted under our patent laws." Id. at
2355.



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           The Claims are Directed to Statutory Subject Matter
           The Supreme Court and the Federal Circuit have not provided an explicit definition of
"abstract ideas." Instead, they have identified abstract ideas by way of example -
longstanding       economic      practices,   certain   methods   of organizing      human    activity,
mathematical formulas, and ideas of themselves are all considered abstract ideas. Id at 2355-
56. Using this guidance, the USPTO has laid out requirements that Examiners must meet to
present a prima facie case that a rejected claim is patent ineligible. (USPTO July 2015
Update:       Subject   Matter     Eligibility   ("July   2015    Update")   §    III,   available   at
http://www.uspto.gov/sites/default/files/documents/ieg-july-2015-update.pdf.) In addressing
this part of the test, the Supreme Court emphasized that "[a]n invention is not rendered
ineligible simply because it involves an abstract concept." Alice Corp., 134 S.Ct. at 2355.
Indeed, "all inventions embody, use, reflect, rest upon, or apply ... abstract ideas." Id.
           Recently, the Federal Circuit "highlighted several important points regarding the
subject matter eligibility analysis, in particular regarding whether a claim is directed to an
abstract idea." USPTO May 19, 2016 Memorandum: Recent Subject Matter Eligibility
Decisions (Enjish, LLC v. Microsoft Corp. and TL! Communications LLC v. A. V Automotive,
LLC) at 1 ("Recent Subject Matter Eligibility Decisions"). For example, the Federal Circuit
"noted that when determining whether a claim is directed to an abstract idea, it is appropriate
to compare the claim to claims already found to be directed to an abstract idea in a previous
court decision." Id. In addition, the Federal Circuit "cautioned against describing a claim at a
high level of abstraction untethered from the language of the claim when determining the
focus of the claimed invention," and noted that "an invention's ability to run on a general
purpose computer does not automatically doom the claim." Id As explained below,
independent Claim 44 is distinguishable from the claims already found to be patent-ineligible
abstract concepts, and the Office Action's characterization of the claims over-simplifies the
claimed invention and improperly ignores a number of features recited in Claim 44.
           The Office Action alleges that Claim 44 is directed to the abstract idea of "identifying
related information and returning a record in response to user's response." Office Action 4.
Applicants respectfully disagree at least because such a characterization over-simplifies the
claimed invention, and improperly ignores numerous features recited in Claim 44. Claim 44
is not merely directed to "identifying related information and returning a record in response


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to a user's response." Rather, Claim 44 is directed to a particular method of navigating a user
interface. For example, Claim 44 recites, "presenting, on a graphical user interface, a
graphical representation of a first item of information of a plurality of items of information,"
"detecting a gestme associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information," "storing the positive preference indication associated with the first
item of information in response to detecting the gesture," "automatically presenting, on the
graphical user interface, a graphical representation of a second item of information of the
plurality of items of information in response to detecting the gesture," and "automatically
removing the graphical representation of the first item of information from the graphical user
interface in response to detecting the gesture." Thus, Claim 44 does not merely recite the
abstract idea of "identifying related information and returning a record in response to user's
response" as alleged in the Office Action. The Federal Circuit has repeatedly emphasized the
need "to avoid oversimplifying the claims by looking at them generally and failing to account
for the specific requirements of the claims." McRo, Inc. v. Bandai Namco Games Am. Inc.,
No. 2015-1080, 2016 WL 4896481, at *7 (Fed. Cir. Sep. 13, 2016).
           As noted above, it is proper to "compare the claim to claims already found to be
directed to an abstract idea in a previous court decision." Recent Subject Matter Eligibility
Decisions at 1. Here, the Office Action contends that the alleged abstract idea of "identifying
related information and returning a record in response to user's response" is "similar to other
concepts that have identified as abstract by the courts, such as using categories to organize,
store and transmit information in Cyberfone, or comparing new and stored information and
using rules to identifying options in Smartgene." Office Action at 4. The Office Action's
contention, however, is merely conclusory and provides no analysis or explanation to support
the alleged similarities between these concepts and the method of navigating a user interface
recited in Claim 44. Indeed, Claim 44 is more similar to claims recently found to be patent-
eligible by the Federal Circuit.
           In Trading Techs. Int 'l, Inc. v. CQG, Inc., the Federal Circuit found that a claim
covering "[a] method for displaying market information ... on a graphical user interface"
was directed to patent-eligible subject matter. No. 2016-1616, 2017 WL 192716, at *1-2
(Fed. Cir. Jan. 18, 2017). The Federal Circuit agreed with the district court's conclusion that


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"rather than reciting 'a mathematical algorithm,' 'a fundamental economic or longstanding
commercial practice,' or 'challenge in business,' the challenged patents 'solve problems of
prior graphical user interface devices ... in the context of computerized trading[] relating to
speed, accuracy and usability"' and "are directed to improvements in existing graphical user
interface devices that have no 'pre-electronic trading analog."' Id. at *2. Claim 44 is more
similar to the claims found patent-eligible in Trading Techs. than the cases relied on by the
Office Action. For example, the "dynamically displaying," "displaying," and "setting" steps
recited in the claims at issue in Trading Techs. Int 'l are analogous to the "presenting,"
"automatically presenting," and "automatically removing" steps recited in Claim 44. Id. at
* 1-2. Similarly, Claim 44 solves problems of prior user interface devices and is directed to
improvements in navigating user interfaces that have no pre-computer analog.               Like the
claims at issue in Trading Techs., Claim 44 does "not simply claim displaying information,"
and recites more than "identifying related information and returning a record in response to
user's response" as alleged by the Office Action. Id. at *3. Moreover, the graphical user
interface of Claim 44 is "not an idea that has long existed, the threshold criterion of an
abstract idea and ineligible concept." Id.
           In addition, Claim 44, as a whole, is distinguishable from the patent-ineligible abstract
concepts found in the Alice and Bilski Supreme Court cases. Alice involved "a method of
exchanging financial obligations between two parties using a third-party intermediary to
mitigate settlement risk." Alice, 134 S. Ct. at 2356. Bilski involved the concept of hedging
risk. Bilski v. Kappas, 561 U.S. 593 (2010). Like the concept of hedging risk in Bilski, Alice's
"concept of intermediated settlement" was held to be "a fundamental economic practice
long prevalent in our system of commerce." Alice, 134 S. Ct. at 2356 (emphasis added).
Similarly, the Court in Alice found that "[t]he use of a third-party intermediary ... is also a
building block of the modern economy." Id. (emphasis added). Thus, the Court held,
"intermediated settlement ... is an 'abstract idea' beyond the scope of§ 101." Id.
           Unlike the claims directed to the concept of intermediated settlement and hedging risk
m Alice Corp. and Bilski, respectively, the steps of Claim 44 are not directed to "a
fundamental economic practice long prevalent in our system of commerce." Id. For example,
Claim 44 recites "a method of navigating a user interface" by "presenting, on a graphical user
interface, a graphical representation of a first item of information of a plurality of items of


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information," "detecting a gesture associated with the graphical representation of the first
item of information, the gesture corresponding to a positive preference indication associated
with the first item of information," "storing the positive preference indication associated with
the first item of information in response to detecting the gesture," "automatically presenting,
on the graphical user interface, a graphical representation of a second item of information of
the plurality of items of information in response to detecting the gesture," and "automatically
removing the graphical representation of the first item of information from the graphical user
interface in response to detecting the gesture." Claim 44 is therefore directed to a particular
technological improvement in the area of user interfaces, and does not merely recite the
abstract idea of "identifying related information and returning a record in response to user's
response," as alleged in the Office Action. Office Action at 4.
           Furthermore, Claim 44 is distinguishable from other claims already found to be
directed to an abstract idea in previous court decisions at least because it is not directed to a
certain method of organizing human activity, a fundamental economic practice, an idea of
itself, a mathematical algorithm, or a basic tool of scientific and technological work. See PNC
Bank v. Secure Axcess, LLC, CBM2014-00100 (Board Sept. 9, 2014), at 20-21. See also U.S.
Bancorp v. Solutran, Inc., CBM2014-00076 (Board Aug. 7, 2014), at 13-14. Accordingly,
Claim 44 is not directed to an abstract idea and is therefore allowable under Section 101.
           The reasoning provided in the Supreme Court decision in Alice confirms that Claim
44 is eligible under Section 101. As the Supreme Court has stated:
             [W]e tread carefully in construing this exclusionary principle lest it
             swallow all of patent law. Mayo, 566 U.S., at-, 132 S.Ct., at 1293-
             1294. At some level, "all inventions ... embody, use, reflect, rest upon,
             or apply laws of nature, natural phenomena, or abstract ideas." Id., at
             - , 132 S.Ct., at 1293. Thus, an invention is not rendered ineligible for
             patent simply because it involves an abstract concept. See Diamond v.
             Diehr, 450 U.S. 175, 187, 101 S.Ct. 1048, 67 L.Ed.2d 155 (1981).
             "[A]pplication[s]" of such concepts "to a new and useful end," we have
             said, remain eligible for patent protection. Gottschalk v. Benson, 409
             U.S. 63, 67, 93 S.Ct. 253, 34 L.Ed.2d 273 (1972).
             Accordingly, in applying the § 101 exception, we must distinguish
             between patents that claim the '"buildin{g] block{s)'" of human
             ingenuity and those that integrate the building blocks into something
             more, Mayo, 566 U.S., at - , 132 S.Ct., at 1303, thereby
             "transform[ing]" them into a patent-eligible invention, id, at - , 132
             S.Ct., at 1294. The former "would risk disproportionately tying up the
             use of the underlying" ideas, id., at - , 132 S.Ct., at 1294, and are

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              therefore ineligible for patent protection. The latter pose no comparable
              risk of pre-emption, and therefore remain eligible for the monopoly
              granted under our patent laws.
Alice, 134 S.Ct. at 2354-55 (emphasis added). Claim 44 does not claim a "building block of
human ingenuity," but rather claims a particular "method of navigating a user interface."
Further, Claim 44 poses no risk of disproportionally tying up the use of underlying ideas, and
therefore poses no comparable risk of preemption.
           Indeed, even assuming, for the sake of argument only, that the Office Action's
characterization of the claims as directed to the abstract idea of "identifying related
information and returning a record in response to user's response" is accurate (a
characterization with which Applicant does not agree), Claim 44 clearly does not preempt all
methods of doing so. The Federal Circuit's recent opinion in McRo, Inc. v. Bandai Namco
Games Am. Inc. is instructive. See McRo, Inc., 2016 WL 4896481 at * 7. In McRo, Inc., the
Federal Circuit disagreed with the district court's characterization of the claims as being
directed to the abstract idea of "automated rule-based use of morph targets and delta sets for
lip-synchronized three-dimensional animation" because "the claims [were] limited to rules
with specific characteristics" and "the specific, claimed features of these rules allow for the
improvement realized by the invention." Id. Here, like in McRo, Claim 44 recites specific
features that allow for improvements to navigating a user interface. See McRo, 2016 WL
4896481 at *9. Moreover, "by incorporating the specific features" recited in the claims,
Claim 44 is "limited to a specific process" and does not "preempt approaches ... that use ...
different techniques." Id. at 10.
           For at least these reasons, the Office Action has failed to establish that Claim 44 is
directed to an abstract idea, as required by Part 1, and for at least these reasons, Claim 44 is
allowable under Section 101, together with its dependent claims. For at least certain
analogous reasons, Claims 49 and 54 are also allowable under Section 101.


           The Claims Recite Significantly More Than the Alleged Abstract Idea
           Even assuming, for the sake of argument only, that the first part of the test had been
met (which, as discussed above, it has not), Claim 44 still would be patentable under Section
101 because the second part of the test is not met. Specifically, the recited features of Claim
44 amount to "significantly more" than a mere abstract idea. See Interim Eligibility Guidance

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at 20-21 ("To be patent-eligible, a claim that is directed to a judicial exception must include
additional features to ensure that the claim describes a process or product that applies the
exception in a meaningful way, such that it is more than a drafting eff01t designed to
monopolize the exception."). For example, Claim 44 recites the following features:
              •   A method of navigating a user interface, comprising:
              •   presenting, on a graphical user inteiface, a graphical representation of a
                  first item of information of a plurality of items of information;
              •   detecting a gesture associated with the graphical representation of the first
                  item of information, the gesture corresponding to a positive preference
                  indication associated with the first item of information;
              •   storing the positive preference indication associated with the first item of
                  information in response to detecting the gesture;
              •   automatically presenting, on the graphical user interface, a graphical
                  representation of a second item of information of the plurality of items of
                  information in response to detecting the gesture; and
              •   automatically removing the graphical representation of the first item of
                  information from the graphical user inteiface in response to detecting the
                  gesture.
           Like the enhancements to the rubber curing process provided by the computer in
Diehr, at least the aforementioned features of Claim 44 provide improvements to the field of
user interfaces, and in particular to navigating a user interface. See, e.g., Interim Eligibility
Guidance at 31-33; Preliminary Instructions at 3 (citing Alice, 134 S.Ct. at 2359-60;
Diamond v. Diehr, 450 U.S. 175, 177-178 (1981)). Accordingly, these features are
meaningful beyond the mere concept of "identifying related information and returning a
record in response to user's responses," both individually and as an ordered combination. See
Interim Eligibility Guidance at 32-33 (the recited features of a claim that "impose meaningful
limits" to the bounds of an abstract idea "amount[] to significantly more than the judicial
exception").


           Claim 44 Does Not Seek To Tie Up any Abstract Idea Such that Others Cannot
           Practice It.


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           Claim 44 does not monopolize the basic tool for performing any scientific or
technological work. See Alice, 134 S.Ct. at 2354 ("abstract ideas are the basic tools of
scientific and technological work. Monopolization of those tools through the grant of a patent
might tend to impede innovation more than it would promote it."); see also Interim
Guidelines at 74625 ("[A] streamlined eligibility analysis can be used for a claim that may or
may not recite a judicial exception but, when viewed as a whole, clearly does not seek to tie
up any judicial exception such that others cannot practice it."). For example, Claim 44, as
discussed above, requires much more than "identifying related information and returning a
record in response to user's response." Even assuming that Claim 44 may involve
"identifying related information and returning a record in response to user's response" at a
high level of generality, this does not render Claim 44 ineligible because it is not directed to
"identifying related information and returning a record in response to user's response" in the
abstract. See Alice, 134 S.Ct. at 2354 ("[a]t some level, all inventions embody, use, reflect,
rest upon, or apply ... abstract ideas. Thus an invention is not rendered ineligible for patent
simply because it involves an abstract concept"). Said another way, the specific form of
navigating a user interface is not a "long prevalent" or "well-understood" technique that one
of skill in the art would recognize. Thus, Claim 44 does not raise the concerns regarding pre-
emption that the Supreme Court articulated in Alice Corp.


Conclusion
           For at least these reasons, Applicants respectfully request reconsideration and
allowance of Claim 44, together with its dependent claims. For at least certain analogous
reasons, Applicants respectfully request reconsideration and allowance of independent
Claims 49 and 54, together with their dependent claims.


Claim Rejections under 35 U.S.C. § 103
           The Office Action rejects Claims 44-58 under 35 U.S.C. § 103(a) as allegedly being
unpatentable over U.S. Patent Application Publication No. 2014/0040368 to Janssens
("Janssens") in view of U.S. Patent Application Publication No. 2014/0162241 to Morgia
("Morgia"). Applicant traverses these rejections for the reasons discussed below.



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           The claimed technology was invented prior to August 6, 2012, which is the priority
date of Janssens. 1 As evidence, Applicant submits the declaration of inventor Jonathan
Badeen and its accompanying exhibits. Thus, pursuant to M.P.E.P. § 715, the Section 103
rejection using Janssens is overcome. Applicant respectfully requests reconsideration and
allowance of all pending claims.


Request for Evidentiary Support
           Should a rejection based on any of the above asserted rejections be maintained,
Applicant respectfully requests appropriate evidentiary support. For example, if the Examiner
is relying on alleged "common knowledge," alleged "well known" principles, "Official
Notice," or other information within the Examiner's personal knowledge, Applicant
respectfully requests that the Examiner cite a reference as documentary evidence in support
of this position or provide an affidavit. See M.P.E.P. § 2144.03 and 37 C.F.R. § 1.104(d)(2).


No Waiver
           Applicant's arguments and amendments are made without prejudice or disclaimer. By
not responding to additional statements made by the Examiner, Applicant does not acquiesce
to the additional statements. The distinctions between the applied references and the claims
are provided as examples only and are sufficient to overcome the rejections. Applicant
reserves the right to discuss additional or other distinctions in a later response or on appeal, if
appropriate.




1
  Janssens has a filing date of March 14, 2013, and claims priority to a provisional application No. 61/680,217,
filed on August 6, 2012.

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                                           Conclusion
           Applicant has made an earnest attempt to place this case in condition for allowance.
For at least the above reasons, Applicant respectfully requests full allowance of all pending
claims.
           If a telephone conference would advance prosecution of this Application, the
Examiner may contact Chad C. Walters, Attorney for Applicants, at 214.953.6511. The
Examiner may also communicate with Chad Walters concerning this Application by
electronic mail at chad.walters@bakerbotts.com.
           The Commissioner is authorized to charge the $200.00 one-month extension of time
fee to Deposit Account No. 02-0384 of BAKER BOTTS L.L.P. Although Applicant believes
no other fees are due, the Commissioner is authorized to charge any necessary additional fees
and credit any overpayments to Deposit Account No. 02-0384 of Baker Botts L.L.P.


                                                Respectfully submitted,

                                                BAKER BOTTS L.L.P.
                                                Attorneys for Applicant



                                                  ctlt~
                                                Chad C. Walters
                                                Reg. No. 48,022
                                                Telephone: 214.953.6511




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              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE




In re Application of:            Sean Rad et al.
Serial No.:                      15/016,662
Filing Date:                     Februaty 5, 2016
Group Art Unit:                  2153
Examiner:                        Yuk Ting Choi
Confirmation No.:                9869
Title:                           MATCHING PROCESS SYSTEM AND METHOD



Commissioner for Patents
PO Box 1450
Alexandria, VA 22313-1450


Dear Sir:


                     DECLARATION PURSUANT TO 37 C.F.R. § 1.131

         I, the undersigned, declare and state that:

         1.    I am over the age of 21 years, of sound mind, and competent in all respects to
make this Declaration.
         2.    I am an inventor of the subject matter of the above-referenced application (the
"Application").
         3.    Prior to August 6, 2012 (the "Effective Date"), I gained a full understanding of
the subject matter of at least the current version of the claims of the Application (attached as
Exhibit A).
         4.    Attached as Exhibit B are screenshots and accompanying descriptions of a
working application developed prior to the Effective Date.          The application presented
potential matches to a candidate. After the candidate expressed a preference regarding a
potential match, the application automatically removes that potential match and presents the
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next potential match. The application was tested, prior to the Effective Date, to confirm that
the functionality discussed above worked.
        5.   Prior to the Effective Date, I developed code that implemented using swiping
gestures to express approval and disapproval of a potential match. Attached as Exhibit C are
portions of that source code.
        6.   All of the work in conceiving and reducing to practice the subject matter of the
cmTent version of the claims in the Application occurred in the United States.
       7.    I hereby declare that all statements made herein of my own knowledge are true
and that all statements made on information and belief are believed to be true. Further, I
declare that these statements are made with the knowledge that willful false statements, and
the like so made, are punishable by fine or imprisonment, or both, under Section I 00 l, Title
18 of the United States Code, and that such willful false statements may jeopardize the
validity of the Application or any patent issuing thereon.


                                      Signed this { r-L.     day of   ,:::"e.Jr,r<> o....ry   '2017.



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                  EXHIBIT A
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Currently Pending Claims


        Claims 1-43 (Cancelled)


        44.    (Previously Presented) A method of navigating a user interface, comprising:
       presenting, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
       detecting a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
        storing the positive preference indication associated with the first item of information in
response to detecting the gesture;
       automatically presenting, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting the
gesture; and
       automatically removing the graphical representation of the first item of information from
the graphical user interface in response to detecting the gesture.


       45.     (Previously Presented) The method of Claim 44, wherein presenting the graphical
representation of the first item of information of the plurality of items of information comprises
presenting user interface controls such that all user interface controls configured to cause another
item of information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.


       46.     (Previously Presented) The method of Claim 44, wherein detecting the gesture
associated with the graphical representation of the first item of information comprises detecting a
swiping direction associated with the gesture.
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        47.     (Previously Presented) The method of Claim 44, wherein presenting the graphical
representation of the first item of information of the plurality of items of information comprises
presenting the first item of information as a first card of a stack of cards.


       48.      (Previously Presented) The method of Claim 44, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the positive preference indication associated with the first item of information comprises
an expression of approval for a user associated with the first user profile.
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        49.     (Previously Presented) A system, comprising:
        an interface operable to:
                present a graphical representation of a first item of information of a plurality of
items of information;
        a processor coupled to the interface and operable to:
                detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
                store the positive preference indication associated with the first item of
information in response to detecting the gesture; and
       the interface further operable to:
               automatically present a graphical representation of a second item of information
of the plurality of items of information in response to the processor detecting the gesture; and
               automatically remove the graphical representation of the first item of information
in response to detecting the gesture.


        50.    (Previously Presented) The system of Claim 49, wherein the processor is further
operable to detect a swiping direction associated with the gesture.


        51.    (Previously Presented) The system of Claim 49, wherein the interface is further
operable to present the first item of information as a first card of a stack of cards.


        52.    (Previously Presented) The system of Claim 49, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the positive preference indication associated with the first item of information comprises
an expression of approval for a user associated with the first user profile.
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       53.     (Previously Presented) The system of Claim 49, wherein the interface is further
operable to present user interface controls such that all user interface controls configured to
cause another item of information of the plurality of items of information to be displayed are
associated with performing an action on the first item of information.
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        54.      (Previously Presented) At least one non-transitory computer-readable medium
compnsmg a plurality of instructions that, when executed by at least one processor, are
configured to:
        present, on a graphical user interface, a graphical representation of a first item of
information of a plurality of items of information;
        detect a gesture associated with the graphical representation of the first item of
information, the gesture corresponding to a positive preference indication associated with the
first item of information;
        store the positive preference indication associated with the first item of information in
response to detecting the gesture;
        automatically present, on the graphical user interface, a graphical representation of a
second item of information of the plurality of items of information in response to detecting the
gesture; and
        automatically remove the graphical representation of the first item of information from
the graphical user interface in response to detecting the gesture.


        55.      (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to detect a
swiping direction associated with the gesture.


        56.      (Previously Presented)      The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are configured to present the first item
of information as a first card of a stack of cards.
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       57.     (Previously Presented)       The at least one non-transitory computer-readable
medium of Claim 54, wherein:
       the first item of information comprises a first user profile;
       the second item of information comprises a second user profile; and
       the positive preference indication associated with the first item of information comprises
an expression of approval for a user associated with the first user profile.


       58.     (Previously Presented)       The at least one non-transitory computer-readable
medium of Claim 54, wherein the plurality of instructions are further configured to present user
interface controls such that all user interface controls configured to cause another item of
information of the plurality of items of information to be displayed are associated with
performing an action on the first item of information.
